EXHIBIT 1
PLAN’ OF LAND IN MASHPEE
Whitney & Bassett, Engineers

July 1954

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Register
FROM THE OFFICE oF
Frederick D. Nichols

7 Water Street
Boston, Massachusetts

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CERTIFICATE

7 I, Gerard J. Quinton, hereby certify that I am Secretary of the
Board of Directors of Fields Point Manufacturing Corporation (1953) a
corporation of the State of Rhode Island, and that the following is a
, true, correct and complete copy of vote passed at a regular meting of the
Board of Directors of Fields Point Manufacturing Ccrporation (1953) duly
« held September 15, 1953, at which meeting a quorum was present and acting

throughout, and that said vote is now in full force amd effect:

. VOTED: That any one of the following named
. ne a dividuals be and he hereby is author~ tone
ized and empowered in the name and on

behalf of the corporation, and with the
. : corporate seal, to negotiate and execute
contracta for the sale of any real es-
- 1 tate of the corporation and for the mir-
: chase of real estate for the corporation, ’ -
" t and deeds of real estates of the corpora~
a tion, upon such terms and conditions, and
in such form as to either of them seems

*f

~ desirable:
a Malcolm G, Chace, dr.
aalihe
Arnold B. Chace
a “ .. UN WITNESS WHBREOF, I have hereunto setny hand ané affixed the |

seal of Fields Point Manufacturing Corporation (1953) this Qik day

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FIELDS POINT MANUFACTURING CORPORATION (1953) >

4 corporation duly established under the laws ci Rhole Island
and having its usual place of business at = Providence

rey taouaxbuseths, for consideration paid, recncemevelileenaanene
grantsto STURE NELSON, married to Florence B. Nelson, both of 26
Sycamore Street, Norwood, Norfolk County, Massachusetts

ak with quitclaia ronewauts
thedaaxiix ‘
[Description and encumbrances, if any]

A certuin parcel of land in Nashpee, Barnstable County, bounded
and described as follows;

A certain island commonly known as Gooseberry Island and bounded on
all sides by Popponesset Bay and shown on Flan numbered 25209a, filed
with original Certificate of Title issued on decree in Land Court Case
No.25209 Fields Point Manufacturing Corporation (1953), the same being
campiled from a plan by Whitney & Barrett, Engineers, dated July 1954,

and addition of data on file in the Land Registration office, all as

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modified and approved by the Court.

See Vote recorded Barnstable Ragistry of Deeds attadned hereto.

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* ’ Crook ° oe pS. ete, Bete “

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~om enema Fer mritie ss mbereut, whe said FIELDS POLNT MANUFACTURING CORPORATION (1953) <>

has caused its corporate scal to be hereto affixed and these presents to be signed, acknowledged and
delivered in its name and behalf by Atjented 13 Chace.
‘2 its hereto duly authorized, this linens Ley ~ ateece rt eX a pene
day of le hederahe f in the year one thousand nine hundred and CALty-five

Signed and scaled in presence of

ead EF mpbell

a Anne ong T ov( 1055,

_ STATE OF PKODE ISLAND
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“Lorene.” 3s. wom nt. +2 1956
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» and acknowledged the foregoing instrument lo be the free act and decd of the FIELDS POINT WANUFAQTURING
{ GORP rang os (1955) ov

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. Notary Public —- Snsticned-tho Pace

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STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS

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said Stats for the Countics of I'ravidence and Lrislol, tac same being
a Court Record and having by Igay a scal,

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in and for said State, residing intehid County of..... t cceceutentysaetsctereeeeestenegsaenetoneneaeestans
duly appointed and. qualified, and authorized to administer oaths and lake depositions and ta take the acknowl-
edgment or proof af deeds or conveyances of lands, tenements or hereditaments tying in said S.ale and whitch decds
lod in satd State; tly acquainted with vic handwriting of satd .

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this office. - Sots Loe eomrveretenee

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Coury, Massachus-:s

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of Norwood, Norfolk

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grants to ROBERT JAMES NELSON AND ReTsy R.NELOCN dhos RAND Ws Pe
ENANTS By EAM RETY. 9
of 14 Spruce Raad, Norwood, Mass., with quitdaim covenants

thelandin Mashpee in the County of Barnstable and Commonwealth cf

(Description aad encumbrances, if aay,
Massachusetts, bounded and described as follows:

A certain Island commonly known as Gooseberry Island and
bounded on all sides by Poponesset Bay and shown on Plan 25209~a,
the same being compiled from a plan drawn by Whitney & Bassett,
Engineers, dated July 1954, and additional data on file in the
Land Registration Office at Boston, all as modified and approved
by the Court, a copy of a portion of which is filed in Barnstable
County Registry of Deeds in Land Registration Book 135, page 100
with Certificate of Title No. 18360.

Jo CH. ee onthe HL. /&3BL

Filtnens my..band and seal this 81
The Goumouweulth of Masanelpsetts
NORFOLK, yO -,
: Det 7 oe
Then personally appeared the zbove named Sture Nelson
and acknowledged the foregoing instrament to be his free act and deed, before me
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Clinton jee egg
My commission expires 10-16 wy

(*lodividual — Joint Tenants — Tenants in Common — Tenzats by the Entiscty,)

CHAPTER 183 SEC. 6 AS AMENDED BY CHAPTER 497 OF 1959

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Failure w comply with this section shal! oot affect the validity of soy deed. No register of deeds shall ecoepe a deed for recocding unless
ic iy in complignce with the requiremens of this section,

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FORM 281 Rev FSS

DUNNING, FORMAN, KIRRANE & TERRY
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We, Roberc James Neilson and Betsy 4. Nelson, husband and wife, tenants by
the entirety

of 97 Valley Brook Road, Centerville, MA Barnstable  COtty. Massachusetts
in considerstion of = nosinal

gant 6 Robert J. telson, Jr.

of 251 Franklin Street, Mansfield, MA 02048 with quitelairs cousremds

the land in. Mashpee, bounded and described as follows:

A certain Island commonly known as Gooseberry Island and bounded
on all sides by Poponesset Bay and shown on Plan 25209-A dated July, 1954,
drawn by Whitney & Bassett, Engineers, and filed in the Land Registration
Office at Boston, a copy of which is filed in Barnstable County Registry of
Deeds in Land Registration Book 135 Page 100 with Certificate of Ticle

No. 18360,

For our title see Certificate of Title No.87%6

Executed as a sealed instrument this

Che Coomaiealth of Massachusetts
Barnstable, ss. flog ‘ lf 19 92
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Thee persumall appeared the abuvr named

Robert James Kelson and Betsy A. Nelson

asd acknowledged the foregoing instrument to be = thetr re and x, 74
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EXHIBIT 5
Doctitrvivar404 O9-13-2011 12°44
CEFEILSS17N
BARNSTABLE LAND COURT REGISTRY

QUITCLAIM DEED

1, Robert J. Nelson, Jr, of 251 Franklin Street, Mansfield, Massachusetts 02048,
for no consideration paid, grant to

Robert D. Emmeluth, Trustee of Gooseberry Island Trust, under declaration of trust dated
September 2, 2011, and filed with the Barnstable Registry District of the Land Court herewith as
Document No, ((13 403 _, c/o Boudreau and Boudreau, LLP, 396 North Street, Hyannis,
Massachusetts 02601 :

with Quitclaim Covenants,

the land, situated in Mashpee, Barnstable County, Massachusetts, and more particularly
described as follows:

Being a certain island commonly known as Gooseberry Island and bounded on all sides
by Poponesset Bay and shown on Land Court Plan No, 25209-A, dated July 1954, drawn by
Whitney & Bassett, Engineers, and filed in the Land Registration Office at Boston, a copy of
which is filed with the Barnstable Registry District of the Land Court in Land Registration Book
135, Page 100, with Certificate of Title No. 18360.

Property Address: Gooseberry Island, Mashpee, Massachusetts.

For title, see Certificate of Title No. 127604.

Wrtness my hand and seal this _/2 th day of. blonde. , 2011.

COMMONWEALTH OF MASSACHUSETTS
Barnstable, ss:

On this ko tay of Sepdenbe- , 201) before me, the undersigned notary public,
personally appeared Robert J. Nelson, Jy, proved to me through satisfactory evidence of
identification, which wasQovers License. , to be the person whose name is signed

on the preceding or attached document, and acknowledged to me that he signe

for its stated purpose.
ila I
Of’

, Noktry Public
Commission Expires:

voluntarily and

JOHN J. ROCHE
2 NOTARY PUBLIC
“Gp ss} COMMONWEALTH OF MASSACHUSETTS
So” MY COMMISSION EXPIRES MAY 23, 2014

BARNSTABLE REGISTRY OF DEEDS
EXHIBIT 6
Doctlr»s272%9°58 O7-01-2015

32s?

BARNSTABLE LAND COURT REGISTRY

ch TRUSTEE’S CERTIFICATE,

TMENT, ACCEPTANC USTEE

© r¥ Ae RecicNATION OF Us*ce * &
or GOOSEBERRY ISLAND TRUST

NOT NOT

I, Robert D, Emmetéth or c/o Boudreau and Boudreda, NLP, 396 North Street, Hyannis,
Massachusetts 02601" Trustbe Sf Goscberry Island Trést¥untleldebldtation of trust dated
September 2, 2011, and file@ withthe Bamstable Registry DRtrict the Land Court as
Document No. 1,173,403, hereby certify that, on the date hereof, atth bus H ant, of

BoStin, mA , was duly appointed as trustee of the said
Gooseberry Island Trust, by unanimous vote of all of the beneficiaries of said trust.

UBSCRIBED AND SWORN to under the pains and penalties of perjury this Ss day
of Mt sy 20S

Robert D, Emmeluth

COMMONWEALTH OF MASSACHUSETTS

County of Ry WasSWmh)e.

On this => ___ day of SU , 20{8, before me, the undersigned notary
public, personally appeared Robert D™Emmeluth, proved to me through satisfactory evidence of
identification, which was CV TOL. , to be the person whose name is signed

on the preceding or attached document, and who swore or affirmed to me that the contents of the
document are truthful and accurate to the best of his knowledge and belief.

TARA O'CONNELL
Notary Public
Commonwealth si Massachusetts

, Notary Public

a
My Commission Expires: |2 \ Qhid
Property:
Gooseberry Island, Mashpee, Massachusetts

Land Court Plan No. 25209-A
Certificate of Title No. 195170
nN NCCEPTANG OF TRUSTER, T

OFFI SdoseBemny’ ISLAND Trust : AL

O

1 Matthew Vee, , of beSten -

hereby accept my appointment aé trustee of Gooseberry Islahd PruSt, under declaration of trust

dated September 2, 2011 id filed with the Barnstable Re isfty Bistrict of the Land Court as |
Document No. 1, 193, fod sid this Wate. OF TCrAhL
COPY

WITNESS my hand and seal this S__ day of Maly 4 ;

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COMMONWEALTH OF smomomente

County of Ro YONORNVGM

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public, personally appeared (1. thew | Hera, , proved to me through satisfactory
evidence of identification, which was MAD f , to be the person whose

name is signed on the preceding or attached document, and acknowledged to me that he/she
signed it voluntarily for its stated purpose.

& TARAO'CONNELL

Notary Public
Commonwealth of Massachusetis (Np krh
My Commission Expires December 19, 2019 X Lh
, Notary Public

My Commission Expires: \Q-\QA9

Property:

Gooseberry Island, Mashpee, Massachusetts
Land Court Plan No. 25209-A
Certificate of Title No. 195170

BARNSTABLE REGISTRY OF DEEDS
John F. Meade, Register
Doctivy272795? O7-01-2015 3:3?
BARNSTABLE LAND COURT REGISTRY

Non RESIGNATION OF TRUSTEE: T

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I, Robert D. Emmeluth, of c/o Boudreau and Boudreau, op 396 North Street, Hyannis,
Massachusetts 02601, Trubleof Gooseberry Island Trust, dha; declaration of trust dated
September 2, 2011, and file with the Barnstable Registry DiStrilt of the Land Court as
Document No. 1,1 P3405, hereby Fespn'as trustee of the stid Géosébery"island Trust.

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WITNESS my hand and seal this S day of M1 . ys 2203

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Robert D. Emmeluth

COMMONWEALTH OF MASSACHISETTS

County of Ragriasteal

Onthis SS day of Wu , 20) 2, before me, the undersigned notary public,
personally appeared Robert D. Emmeluth, proved to me through satisfactory evidence of
identification, which was CT Vy , to be the person whose name is signed on

the preceding or attached document, and acknowledged to me that he signed it voluntarily for its
' stated purpose.

és TARA O'CONNELL
Notary Public .
wy Commonwealth uf Massachusetts rd Dy mY
My Commission Expires Oecamber 19, 2019 ‘ (iL
WAG toy) , Notary Public
My Commission Expires: NA 19
Property:

Gooseberry Island, Mashpee, Massachusetts
Land Court Plan No. 25209-A
Certificate of Title No. 195170

BARNSTABLE REGISTRY OF DEEDS
John F. Meade, Register
EXHIBIT 7
Acts, 1908.— Cuars, 134, 155. GU

rien, Instead of cansing such horses te be sold, tay trans-
fer them to the cristody of the charitable socicts deorpa-
rated under the name of Red Acre Farm, Dncorporated, or
to any other charitable society incorperated an this cora-
monwealth for the preveutien of erneley to antmals, or for
the care and protection of diinh animals, if the socieiy
is willing to accepr the eustody thereof, to be disposed of
In suelr rnarmner ais the said soelety tas deer best: pitor Proviso.
rided. (hat the society upon reeciving inv such horse shall
give aowrirten aereement not te sell the horse ov to let the
same for hire. Tf any horse so received shall thereafter
be sold or let for hive, the proceeds of such sale cr letting
shall be the property of the ev or town. and enstody of
the horee shall revert to the ery er COWL.

Section 2. This act shall take effect upon ifs passage,

Approved Pebruary 27. L008,

An ACR TO AVTTIORTZE TUE CONSTRUCTION OF CRETEOR Cha 7p 134
BRUGES IN TUE TOWN OF MASHPEE. " "

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the Revised Laws and mi accordance with sach plans as teanply, etc.
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section 2. This act shall take effect upon its passage.
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EXHIBIT 8
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A duplicate of the aforesaid Plan, numbered 6 4 2 8 , remains on fle in the @

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Land Commissioners

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EXHIBIT 9
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MASUHPBEE ZONING BOARD OF APPEALS
PETITION FOR A VARIANCE
Under Massachusetts General Laws Chapter 40A $10 and
Town of Mashpee Zoning By-laws

TO: Mashpee Zoning Board of Appeals Date: August 29, 2013

Tne undersigned Petitions the Mashpee Zoning Board of Appeals “o vary, in the manner and for
ihe reasons hereinafter set forth, the application of the provisions of the Zoning By-iaws to the
following described premises:

Property Address: 0 Gooseberry Island Zoning District:_B-3

Current Property Owner: Rebert D. Emmeluth, Trustee of Gooseberry Island Trust

2

c/o Boudreau & Boudreau. 394 Noreh Street, Hyannis MA gay
‘Address) C/O Kevin M. Kirrane, P. 0. Box 560, Mashpee (Telephone #) (598) 477-650

500
Registry of Deeds Title Reference: Book: Page:
ao s >
or Certificate af Title #: 195136 ans] Land Court Lot #: - and |
Plan # 25209-A
Assessor’s Map/Paroel: Map:____ 100 Parcels §-0-R
Durnensions of Lot; 1/4 300+ feet Area: 3.9 acres
Frontage Depth Square Peet

How long have you owned the premises? since 9/11

Current use of premises: [sland

Dimensions of existing building(s) on the premises: nia

Dimensions of proposed construction: n/a

Pertinent Section(s) of the Zoning By-laws and Variance relief requested:_ Section 174-31),

Lot Frontage, Section [74-12 and Section 74-22

Zz

Have you submitted plane for above to the Building Department? no
ZBA Public Hearings date scheduled for: TOWN CLERK.

DATE STAMP:

Petitioner's Stepature.. ae -
oF on ee tn

Agent’s Signature Kevin ”M. Rirrane, Esquire

TOWN OF MASHPEE
ZONING BOARD OF APPEALS

APPLICATION FOR VARIANCE

GOOSEBERRY ISLAND TRUST

Respectfully Submitted,

Kevin M. Kirrane, Esq.

DUNNING, KIRRANE, McNICHOLS & GARNER, LLP.
P.O. Box 560

Mashpee, MA 02649

October 9, 2013

NATURE OF APPLICATION

The applicant Robert D. Emmeluth, Trustee, is the owner of a parcel of
land commonly referred to as Gooseberry Island. Given the fact thai the
property is an Island, in order to build upon it, there is a need for Variance

Relief from the Zoning Board of Appeals.

The applicant seeks relief from the frontage requirements sei forth in
both Sections 174-12 and 174-31 of the By-Law and irom the Fire Protection
By-Law, so called, Section 174-32, in order to establish this three (3) plus acre

parcel as buildable.

BACKGROUND

frule itis mot currently occupied, the Island was used by previous
owners as a cottage or camp for camping, hunting and fishing. As shown on
the pian submitted with the application, the remnants of a building foundation
and well are still visible on the Island. In addition, the Land Court Decree Plan

dati

¢g back to the 1950’s shows a structure on the Island. (See Plan attached

family for more than 50 years and in 2011 the property was conveyed to the
current owner. As indicated in Mr. Nelson's Affidavit, his family members
would park at the end of Punkhorn Point Road and use a row boat to access
une Island throughout those years. (See Affidavit attached hereto and marked

as Exhibit B

The applicant hopes ta obtain all necessary permits to develop the Island

for one (1) single family residence.

APPLICABLE ZONING

Section 174-12 provides in pertinent part that:

“no building shall be erected except on a lot fronting
on a street”
Given the land in question is an Island and currently accessible by foot

(at low tide} or by boat, it lacks frontage on a street.

Section 174-31 requires a lot for building purposes to have 150’ of
frontage on a street in the applicable R-3 Zoning District. The parcel in

cuestion has 0’ of frontage on a street.

Section 174-32 requires an unobstructed paved access roadway within
150° of the furthest point of any building on the lot. Again, given the parcel in
question is surrounded by water, that tyne of unobstructed parcel access

cannot be provided.

VARIANCE RELIEF

Both State Law and our local By-Law authorize the local Zoning Board of
Appeals to grant Variance Relief under certain circumstances. Massachusetts
General Laws Chapter 40A, Section 10 sets forth the criteria which must be

considered by the Board when acting upon Variance requests.

A Board is at liberty to grant Variance Relief where:

“owing to circumstances relating to the sail
conditions, shape or topography of such land
or structures and especially affecting such lanc
or structures but not affecting generally the
zoning district in which it is located, a literal
enforcement of the provisions of the ordinance

or by-law would involve substantial hardship,
financial or otherwise, to the petitioner or
appellant, and that desirable relief may be

granted without substantial detriment to the
public good and without nullifying or substantially
derogating from the intent or purposes of such
ordinance or by-law.”

In. this particular instance, given that the parcel of land is an Island
surrounded on all sides by water, | believe would satisfy the criteria relating to
circumstances of shape, soil condition and topography especially affecting this

iand but not affecting generally the Zoning District (R-3) in which it is located.

A literal enforcement of the By-Law would result in a substantial
hardship should the applicant not obtain variance relief from frontage and
access requirements, since nothing could be built on the Island without such
relief. Additionally, having a physical presence on the Island could help in
preventing dumping, vandalism and damage to the surrounding Wetland

Resource Areas.

The desired relief can be granted without detriment to the public good
and without derogating from the intent of the By-Law as only one dwelling
would ultimately be built on this three (3) plus acre parcel, which will comply
with all other zoning regulations. Health, conservation and environmental
issues will be considered and addressed by other Boards or Committees. In
addition, the applicant will install a code compliant fire sprinkler system in a
prospective dwelling and welcomes a condition to the effect should the
requested Variance Relief be granted. (See e-mail communication from Chief

Baker dated August 12, 2013 attached hereto and marked as Exhibit Cj

The Board is no stranger to the grant of this type of relief in the
Punkhorn Point area. In fact, both 1999 and 2005 similar relief was granted to
the owners of properties situated at 84 Punkhorn Point Road and 80 Punkhorn

Point Road. (See Decisions attached hereto and marked as Exhibit D and D-1.)

CONCLUSION

For those reasons stated herein and in the documentation to be
submitted at the public hearing, the applicant respectfully suggests that he has
met the criteria necessary for the grant of Variance Relief under G.L.C. 40A810.

As such itis requested that the Board act favorably upon said request.

Respectfully Submitted,
Gooseberry Island Trust
By its Attorney,

Kevin M. Kare ane, Esquire

Dunning, Kirrane, McNichols & Garner, L.L.P.
P.O. Box 560

Mashpee, MA 02649

(508) 477-6500

PLAN’ OF LAND IK MASHPEE
Whitney & Bassett, Engineers

JSuly 1954

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OM Andersot, Engineer for Court Vs

I, Roberi J, Nelson, Jr, of 251 Franklin Streei, Manstield, Massachusetts, after being duly
aworn, do denose and say as follows:
L. That 1am the owner ofthat certain isiand, situate in Masispes, Massachusetts, commonly
knowns as Gooseberry Island and bounded on 4! tide dy Poponesse! Bay and-shown on Land
Court Flan No. 25209-A.

© Gooseberry Island has been held by my family since September of 1935,
, Stare Nelson, a/k/a N, Sure N alison, acquir ed i from Fields Point
oration. Ady sane ned Ge ose eberry Isr duntl he conveyed Sic
ames Nelson and B A Noison February of 1982; and ary parents

sland from the ttime w und they camvey sod ih it to re in August of 1992, from
‘present | have owned Goose ebory Island.

; That from i955 ic the preseat, paca bers of my family anc I heve regularly used the aivi
way now known as Ponkhorn Point Raad to. the share adjacent to Coesenenny island to access

poe

50 aseberry Island, where we would
and frat the

referred io as ibe tight of way leadin

amp, Osh or reat have been personally using said way fo
~1960°s to the present. Said way has also been commonly
ie ‘highway to Gooseberry Island. Poruions of

said right of way are shown as a 33" Way” on a placa? land prepared for Mary A.
i ad recorded whh the Barn ‘ Ragistry of Deeds In Plan Book 72, Page 49,
: of land prepared for Herbert Nelson and my said srandfatber recorded with said
ry of Deeds in Plan Book ? YY,
a. nghiof way to the shore
across fra m Gooseberry island, packed my automobile on (ne side 2 of the tight of way and rowed
my boat o¥ io Goosebeny 3 ‘sland. For many years during my family’s and ey owaership of

Gooseberry Island, | stored a rowboat or canoe-on the shore at the end of the right of way, but
more rece atly, lusually bring an infintable with me to cross Che narrow waterway betwean the
end of the right of way and Gooseberry Island.

That so one has challenged my rights to wtilize said night of wey tc acoess Gooseberry
Island. ancl, iamy knowledge, no one ever challenged by said parents’ or 5 tights fo
use said right of way tc acess Gooseberry Island.

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Rabert J. Ngison Thy

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Sant:

To:

Ce:
Aftachments:

Mary Ann,

George Baker

Monday, August 12, 2012 2:30 Fly
Mary Ann Romero

Joel Clifford

2013084 21425482 42. pdf

Lhave meet with the principles of the proposed. residential occupancy on Goaseherry Island, As noted in the attached
correspondance they will agree as a condition ofa zoning wavier to install a residential fire sprinklar systern. Bo to the
fact that they are-taking.this action | am not opposed toa waiver of 174-32 or other zaning requirements that have to do

with road access.

Plaase communicate this information to the coning Board af Appeals.

Thank you.

George W. Baker
Fire Chief

Gooseberry Island Trus
cfo Boudreau & Boudrean LL
3U6 N hy Styeet mam mG.
396 North Sireet AUG 0 g 2013
Hyannis, MA 0260}

Angust § 2013

George Baker, Chie?

Mashpee | Fire & Rescue Depariment
20 Frank Focks Drive

Mashpee, MA 02645

Jear Chief Baker,

381 IG reconstruc! a single family

It is the intention of the Gooseberry Isla
house on Groaseberry Island. Gooseberry Is and 1 ibe seeking @ Vanance under
] 74-32 (Fire protection) of the Zoning By-lav t erty's 5 Wuque siatus as a
privately owned island constitutes a clreumstance es; specially affecting this land bur not
aNecting generally the zoning district in which it is loee ied. A varlance from the fire
protection requirements is necessary because witl thout ‘i, no structure can be bully,
regardless ofsize. To meet the Gre provecd don requi proposes to install a
residential sprinkler system which is the standard practic : constructed on ather
islands in New England

Ca cerely .
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A Af I, ah
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" Robart Eltrheluth, Trustee
(Gooseberry Island Trust

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Town of INlashpee |

6 Great Neck Road North
Mashpee, Massachusetts 02649

Bik 1 2306 PGES 9 42qeary

BOARD OF APPEALS |

Decision for a Variance

RE: John C. & Sandra S. Hessler V-09-29 84 Pimkhorn Point Road
Map 100 Block 5
A, Petition was Gled on March 11, 1999 by John C. and Sandra S. Hessler of
Newton, Massachusetts for a Variance from Section 174-32 of the Zoning By-laws
for permission to construct a new single-family home on an unpaved read on property
locaied in an R-3 zoning district af 84 Punkhorn Point Road (Map 100 Block S$) Mashpee,

MA.

Notice was duly given to abutters in accordance with Massachusetis General |
Laws Chapter 40A. Notice was given by publication in The Mashpee Enterprise, a
newspaper of general circulation in the Town of Mashpee, on April 13 and April 20,
{999, a copy of which is attached hereta and made a pari hereof. |

A Public Hearing was held on the Petition at the Mashpee Town Hail on
Wednesday, April 28, 1999, at 7:30 PM. at which aime the following members of the
Board of Appeals were present and acting throughout: James E, Regan Il, Robert G.
Nelson and Richard T, Guerrera. i

This Decision is issued by the Mashpee Board of Appeals pursuant to the
provisions of Massachusetts General Lew, Chapter 40A, Section 10 and the Town of ©

Mashpee Zoning By-laws.

Mr. John Slavinsky of Cape & Islands Engineering represented the applicants
who propose to remove the existing small cabin on the lot and build a new house. He |
stated that the property line is 100 feet from a paved road and the proposed building wil
be 250 feet from a paved road. Mr. Slavinsky stated that the applicants also propose t&: ~.
construct a combination garage/shed that will measure 16 feet x 18 feet. The

Conservation Commission has approved the project. i

Mir. Slavinsky stated that the existing cesspocl will be removed and a
denitrification system for the five-bedroom house will be installed.

Wo comments were received from abutters.

BKLeS00 Peers

Board of Appeals John C. & Sandra S. Hessler V.90.29 5

FINDINGS
Generel Findings

I. the subject property is located at 84 Punkhorn Paint Road and consists of 1.3
acres of land

Variance Criteria

Section 10 of Chapter 40A requires that the permit granting authority determine

that there are circurnstances relating to the shape and topography which affect this lot and

not the district in which it is located and that a literal enforcement of the By-laws would
involve hardship to the petitioner.

Specific Findings

1, that a literal enforcement of the By-laws would involve hardship to the
petitioner.

2, that relief may be granted without detriment to the public good.

3. that relief may be granted without derogating from the intent or purpose of the
By-laws.

4, that the subject property fronts on Popponessett Bay and ts impacted by
wetlands.

5. that the property from the westerly property line for a distance of 200 feet
along the road shall be graded and widened ta 16 feet.

&. thatan NFPA 13-D sprinkler system shall be installed in the residence.

7. that the applicants have pre-existing rights because of the existing shed.

&. that the remmeval of the cesapoo) and installation of a denitrification system
will be an improvement to the property.

9, that the lot coverage is only 5%.

10. pending confirmation that the Conservation Commission has approved the
project,

in view of the foregoing, the Mashpee Board of Appeals found that the applicant
met the criteria necessary for the granting ofa Variance. Upon motion duly made and
seconded, the Board of Appeals voted unanimously on April 28, 1999 to grant a
Variance to allow the applicants to consiruct a new home on an unpaved road. The
permit is conditioned upon compliance with plan entitled “Proposed Site & Topagraphk
Plan Located in Mashpee ~ Mass., Prepared for John C. & Sandra S. Hessler, Scale:
}’ = 20 FT., Plan No. 030399, Date: Mar.3, 1999, Cape & Islands Engincezing”™.

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BeLiesoo PoGeo 44
Baard of Appeals John C. & Sandra §. Hessler V-99-29 5

TOWN OF MASHPEE BY:
MASHPEE BOARD OF APPEALS

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| property located 14 40 303 aomag downet 0:97 Wheelneue pursuant to Section 17 of the Massachusetts General Laws Chapter

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pan oey te eeet ea nc eenunes Ms Town Clerk efter the expiration of the 20-day Appeal period.
Poa Gah pe oie ot Special Permits shall fapse after two years and Variances and

MASHPZE BOARO OF APPEALS Appeals after one year unless substantial use or construction has

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MASHPEE ZONING BOARD OF APPEALS
Decision fora Variance

RE:  Punkhorn Potnt Realty LLC &C Py wushorn Point Read

V-05-46

A Petition was Hied on March 18. 2005 fora Variance from Sections {74-3
{74-32 and (74-33 of the Zoning By-laws ta seek renef from the lor frontage

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requirem

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said access raad shall be consiruz

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poi of any ouilding en the lot on property tn arcer to

D 1;

located In an R-3 zoning district at 80 Punkhorn Poir: Road (Map 100 Parcel 4)

Mashpee, MA
Notice was duly given to abutters in accordance with Massachusers General

Laws Chapter 404. Notice was given by publication in The espe Enterprise,
a newspaper cf general circulauen on!

is attached hereto and made a pa

4 Public Hearmg was hed

Wednesday, May 25, 2003, ai which time the rer members of the Zoning Board of

Appeals were present and acting throughout: Robert Nelson, della Elizenberry, Evano

Cunha. Jonathan Furbush and eric Dublirer,

The Mashpee Zoning Board of Appeals issues this Decision pursuant te the

provisions of Massachusetts General Laws Chapter 4GA Section 1G and the Town of

Mashpee Zontng By-laws.

ce Tags nis niet fyessedece
resenis the appuecant at this hearing.

Davie th
They are seeking ta raze and replace the current dwelling on this property. They have
also requesied relief from the wetlands by law and the Are department bviaw that requires

50 feet Fram the pavernent in the

st for access by the fire trucks. The Board reviews the plans and asks about moving

Board of Appeals . Punshorn
sireet for access by the fire trucks. The Board reviews the plans and asks about moving

the house in a different direction, Mr. Sanicki informs them that moving it any other way
would put the property m the flood zone which would require different construction and
materials. The applicant is not seeking to push che house any further away from the fre

em with that since it

access area than what currently exists now. The Board has no pr

snot making it any more detrimenial than what is there now, The Board moves to grant

the followimg:

Y A 43.8 frontage variance
“1? foot variance to the ‘wetlands
“ a 130 foot variance to the fire protection by law setback

GENERAL FINDINGS

|. that the subject property is located at 80 Punkhorn Point Road and contains
1.0 acres,
SPECIFIC FINDINGS

The Board determined that:

1. a literal enforcement of the By-laws would involve substantial hardship to

the petitioner.

2. Desirable relref may ce granted without substantial detrimem to the public
good and without quiltfving or substantially derogating from the intent or
purpose of the by-law.

3. the proposed dwelling wil not be any further from the pavernent jn the

street than currently exists now.

fn view of the f he Mashpec Zoning Board of Appeals found that the
Petitioner met the criteria necessary for the granting of the following

¥ 43,89 foot frontage variance
Vv 17 foot variange to the weUan:

¥ 130 foot vanance to the

This is conditioned upon compliance with plans trom Cape & Islands Engineering, dated

January12, 2005, revised April 13, 2005 and revised May 10, 2905,

. Bk 19993 Pg 315 #44569

MASHPEE ZONING BOARD OF APPEALS
Punkhorn Point Realty LLC
V~-05-46

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20-day Appeal period. Special Permits shal! lapse After
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Bk 19993 Pg 316 #44569

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Mashpee, Massachusetts 92640

MASHPEE ZONING BOARD OF APPEALS
DECISION FOR A VARIANCE

V~-2013-44
Robert D. Emmeluth, Trustee of Certificate of Title # 195170
Gooseberry Island Trust Plan#: 25209-A
c/o Boudreau & Boudreau
0 Gooseberry Island

Map 100 Parcel 6-0-R

A Petition was filed on August 29, 2013 requesting a Variance from Article V $174-
12 of the Zoning By-laws requiring frontage on a street and direct access to a paved town,
county or state road or street as defined in said Section in order to construct a single family
residence on property located in an R-3 Zoning District at 0 Gooseberry Island, (Map 100,
Parcel 6-0-R), Mashpee, MA.

Notice was duly given to abutters in accordance with Massachusetts General Laws
Chapter 40A. Notice was given by publication in The Mashpee Enterprise, a newspaper of
general circulation in the Town of Mashpec, on September 20, 2013 and September 27,
2013 a copy of which is attached hereto and made a part hereof.

On October 9, 2013, Public Hearings were held on the Petition at the Mashpee
Town Hall at which time the following members of the Board were present and acting
throughout: Chairman, Jonathan D, Furbush, Vice Chairman, William A. Blaisdell, Board
Members, James Reiffarth and Richard Jodka, and Associate Member, Domingo K.
DeBarros.

The Mashpee Zoning Board of Appeals issues this Decision pursuant to the
provisions of Massachusetts General Laws Chapter 40A 39 and the Town. of Mashpee
Zoning By-laws.

Attorney Kevin Kirrane representing the Petitioner, Gooseberry Island Trust in
connection with the application for variance relief. Kevin landed the Board an outline of
his remarks relative to the application including photographs of the actual Island taken
from various locations.

Mr. Kirrane stated in his outline, Exhibit A depicts a copy of the land court decree
plan dating back to 1954 which shows a structure situated in the middle of the Island. He
also included Exhibit B of an Affidavit of Robert J. Nelson, Jr. who owned the property
for more than 50 years and indicated the use of the property and how it was accessed.
MASHPEE ZONING BOARD OF APPEALS
Robert D. Emmeluth, Trustee
0 Gooseberry Island, (Map 100 Parcel! 6-0-R)
Mashpee, MA 02649
V-2013-44

Exhibit C of the outline is an email from former Fire Chief George W. Baker, dated
August 12, 2013 stating he does not object to the construction of one single-family
residential structure on the lot provided upon submitting a condition relative to the
installation of sprinklers within the particular dwelling. Mr. Kirrane also attached Exhibits
D and D-1, Variance Decisions issued by the Zoning Board relative to properties located
at 80 and 84 Punkhorn Point Road that were granted similar relief.

Mr. Kirrane stated the applicant is seeking relief from the requirements of frontage
The Island has existed before the adoption of zoning in the Town and before the adoption
of any frontage requirements pursuant to zoning by-laws in the Town. The Island is situated
in a residentially zoned area and in the past was the site of small cottage or camp that was
used by the previous owners and current owners. Although no structure exists today, it was
used in the past years for fishing, hunting and other recreational activity.

Mr. Kirrane stated that variances are difficult to obtain and there is certain criteria
the Board must consider. The first relates to soil conditions, shape or typography of the
land or structures which especially effect this particular lot and not generally affecting the
Zoning District that this lot or parcel is located. In addition, the applicant should be able to
demonstrate the existence of a hard-ship, and finally the relief be granted without
substantial detriment to the public good or without nullifying or substantially derogating
from the intent of the by-law.

Mr. Kirrane stated the lot itself is in excess of 3 acres and the proposed dwelling to
be located on the lot would conform in all other respects to Zoning requirements and
obviously there would be a aeed for the applicant to submit plans to Conservation and
Board of Health when the time arises to propose a single-family dwelling on the lot. He
also mentioned ‘the submitted plan shows the approximate location of the dwelling and
where it would be situated.

Conservation Comments:

October 4, 2013 emailed received from Andrew McManus, Conservation Agent;
“This will require a filing with the Conservation Department- Certified delineations of
flood zone(s), coastal banks, salt marsh, bordering vegetated wetlands and/or any rare
species habitat(s) must be supplied to the Conservation Commission for any and all
disturbances within 100 feet of the aforementioned wetland resource areas- ref. Chapter
172-1 of the Mashpee wetland by-law & 310 CMR 10.00- State Wetlands Protection Act.”
MASHPEE ZONING BOARD OF APPEALS
Robert D. Emmeluth, Trustee
0 Gooseberry Island, (Map 100 Parcel 6-0-R)
Mashpee, MA 02649
V-2013-44

Mr. F'urbush stated the plot plan depicts the setback from the wetlands to 100 feet
on the left side and does not show the distance between the proposed house and wetlands.
The required setback is 150 feet. The setback from the house and wetlands is 50 feet. He
also stated the plan shows the flood zone as All which means the first floor of the dwelling
would require to be 11 feet above water. He stated that he would not entertain any motion
until he received definitive answers from other Boards.

Mr. Furbush stated there are specific questions to be addressed such as emergency
access and disturbance of the wetlands. He is very concerned if three years from now
someone has a medical emergency. He asked Mr. Thomas Rullo, Acting Fire Chief who
was present at the meeting what the time-line the State allows to arrive at a particular house
and the guideline.

Fire Department Comments:

August 12, 2013 email received from Fire Chief Baker stating; “I have met with
the principles of the proposed residential occupancy on Gooseberry Island. As noted in the
attached correspondence they will agree as a condition of a zoning wavier to install a
residential fire sprinkler system. Due to the fact that they are taking this action I am not
opposed to a waiver of 174-32 or other zoning requirements that have to do with road
access. Please communicate this information to the Zoning Board of Appeals.”

Thomas Rullo, Acting Fire Chief, addressed the Board to comment and answer any
specific safety questions. He stated the only access to the Island is by boat and there would
be adelay because there is no direct access. He stated there is an NFPA guideline, but Chief
Baker had a guideline that he tried to uphold for over 20 years and that is a 6-7 minute
mark, and would not be able to meet this time. Under normal circumstances, it’s going to
be delayed. Under adverse weather conditions, he was not sure he could arrive at all. He
stated that former Fire Chief Baker had asked or was rendering an answer to the question
of the building of the house and does not pertain to the access. He stated that Fire Chief
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designed to put out a fire. A sprinkler system is designed to contain the fire so the Fire
Department has time to respond to a structure and put the fire out. The sprinkler system is
designed to give the occupants more time to exit the home safely. This is for any structure
whether commercial or residential.

Mr. Rullo stated the only access to the [sland would be by boat from the Mashpee
Neck dock location. He stated the boat is stored at the main fire station off Route 151.
MASHPEE ZONING BOARD OF APPEALS
Robert D. Emmeluth, Trustee
0 Gooseberry Island, (Map 100 Parcel 6-0-R)
Mashpee, MA 02649
V~-2013-44

Board of Health Comments:

October 9, 2013 emailed received from Glen Harrington, Mashpee Health Agent;
“The October 4, 2013 plan depicts a septic system that is 100’ from wetland but it does not
meet the BOH 150’ setback requirement for a coastal bank. A potable well must be proven
before a building permit is issued. The BOH well setback requirement is 150’. This will be
treated as new construction as no septic permits exist or evidence of previous occupied
dwellings on the Island exist in BOH records”,

Harbormaster Comments:

October 7, 2013 emailed reccived from Stephen Mone, Harbormaster stating; he
wanted to know how the occupants would access the island, a dock on island, a dock on
mainland, or bridge. He also stated the Tribe has a working shellfish grant around the island
that may restrict access.

Public Comments:

Vice Chairman, Mr. Blaisdell read letters submitted to the Board by abutters that
reside at 70 Punkhorn Point Road, 77 Punkhorn Poitit Road, 79 Punkhorn Point Road, 85
Punkhorn Point Road and 89 Punkhorn Point Road that were in favor of the proposed
project.

Several abutters and Representatives of the Mashpee Wampanoag Tribe were
present and addressed the Board and spoke in opposition. Jessie (Little Doe) Baird, Vice
Chairman of the Mashpee Wampanoag Tribe stated her concerns the applicant had no
regard for conditions of the Island or the shellfish grant. Attorney Charles Savon,
representing his client that resides at 84 Punkhorn Point Road opposed stating this variance
is a “self-imposed” hardship and does not qualify under case law as a hardship and
inconsistent with the bylaw of a lot fronting a strect. Tribal Chairman, Cedric Cromwell
approached the Board stating he is strongly against the proposal besides safety and health
is environment concerns for Popponesset Bay. John Weltman, of 80 Punkhorn Point Road
spoke in opposition regarding safety issues. George Green, Assistant Director of the
Natural Resource Department for the ‘Tribe is opposed to the project and described the
detail of the shellfish grant and hope to reach the 90% TMDL benchmark lowering sewer
costs for the Town.

General Findings:

Gooseberry Island consists of 3.9 acres.

4
MASHPEE ZONING BOARD OF APPEALS
Robert D, Emmeluth, ‘l'rustee
0 Gooseberry Island, (Map 100 Parcel 6-0-R)}
Mashpee, MA 02649
V-2013-44

Specific Criteria:

§174-12 Location of Building on Lots: Street Layout:

No building shall be erected except on a lot fronting on a street, and there
shall be not more than one (1) principle building on any residential lot,
except as allowed under this chapter. For the purpose of adequate access to
a parcel of land proposed for subdivision or civision, there shall be required
direct access from the parcel or lot to a paved town, county or state road or
a street for which a road covenant has been released by the Planning Board
or a street having a right-of-way layout and construction meeting at least
the minimum layout width, pavement, drainage and other street
requirements of the Mashpee Subdivision Regulations and Planning Board
for subdivision strects.

Mr. Furbush concluded stating the several concerns with this project were medical
emergencies, public safety, the question of hardship and the Tribe’s comments on the effect
of the oyster beds and septic system.

The Board, upon review of the testimony and evidence, determined that the
proposed Variance would not advance the Town’s interest in maintaining the public safety
in further grant of Variance would in fact derogate from the underline purpose and intent
of the Zoning By-laws.

In view of the foregoing, the Board made a motion on October 9, 2013 at the Public
Hearings of the Zoning Board of Appeals and voted as follows: Mr. Jonathan D. Furbush,
denied, Mr. William A. Blaisdell, denied, Mr. James Reiffarth, denied, Mr. Richard Jodka,
in favor, Mr. Domingo K. DeBartos, denied, the Petitioner, Robert D. Emmeluth, Trustee,
Gooseberry Island Trust request for a Variance from Article V $174-12 of the Zoning By-
laws requiring frontage on a street and direct access to a paved town, county or state road
or street as defined in said Section in order to construct a single family residence on
property located in an R-3 Zoning District at 0 Gooseberry Island, (Map 100, Parcel 6-0-
R), Mashpee, MA. Referencing plot plan from BSS Design Engineering and Surveying, of
Gooseberry Island, Mashpee, MA prepared for Gooseberry Island Trust dated October 4,
2013.
MASHPEE ZONING BOARD OF APPEALS
Robert D. Emmeluth, Trustee
0 Gooseberry Island, (Map 100 Parcel 6-0-R)
Mashpee, MA. 02649
V-2013-44

IN FAVOR: TO wo Me

[iotatnan Furbush

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° TO DENY: Us tbat

William A. Blaisdell

IN FAVOR: TO DENY: VA hx

James reiffdrth

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ol A sot Jodka
IN FAVOR: TO DENY: j

Domingo K. DeBarros

This Decision has been duly filed on October 22, 2013
with the Town Clerk of Mashpee. Any Appeais shall be
made pursuant to Section 17 of the Massachusetts General
Laws Chapter 40A within Twenty days after the date of
said filing.

This Decision is effective when a Certified Copy is filed at
the Barnstable County Registry of Deeds. A Certified
Copy may be obtained from the Town Clerk the next
business day after tne expiration of the 20-day Appeal
phase, which lasts through November 11, 2013

Special Permits shall lanse two years after date of grant.
Appeals shall lapse one year after date of grant. If the
rights authorized by a Variance are not exercised within
‘ia one year of date of grant of such Variance, such rights shall
es 1 lapse unless: (1) substantial use or construction has
ESN CLEAK commenced, or (2) a Petition for a six-month extension has
been filed prior to the expiration date, or (3) the property

that is the subject of the Variance has been conveyed in

C reliance on said Variance prior to the expiration date of

“ such one year period,

6

a Town. of Mashpee

. 16 Great Neck Road North”
Mashpee, Nassachusetts 02649

MASHPEE ZONING BOARD OF APPEALS
DECISION FOR A VARIANCE
V-2013-45

Robert D, Emmetuth, Trustee of Certificate of Title # 195170
Gooseberry [sland Trust Plan##: 25209-A

c/o Boudreau & Boudreau

0 Gooseberry Island

Map 100 Parcel 6-0-R

A Petition was filed on August 29, 2013 requesting a Variance from Article V §174-
31 of the Zoning By-laws requiring a 150’ of frontage on a street in order to construct a
single family residence on property located in an R-3 Zoning District at 0 Gooseberry
Island, (Map 100, Parcel 6-0-R), Mashpee, MA.

Notice was duly given to abutters in accordance with Massachusetts General Laws
Chapter 40A. Notice was given by publication in The Mashpee Enterprise, a newspaper of
general circulation in the Town of Mashpee, on September 20, 2013 and September 27,
2013 a copy of which is attached hereto and made a part hereof.

On October 9, 2013, Public Hearings were held on the Petition at the Mashpee
Town Hall at which time the following members of the Board were present and acting
throughout: Chairman, Jonathan D, Furbush, Vice Chairman, William A. Blaisdell, Board
Members, James Reiffarth and Richard Jodka, and Associate Member, Domingo K.
DeBatros.

The Mashpee Zoning Board of Appeals issues this Decision pursuant to the
provisions of Massachusetts General Laws Chapter 40A §9 and the Town of Mashpee
Zoning By-laws.

Attorney Kevin Kirrane representing the Petitioner, Gooseberry Island Trust in
connection with the application for variance relief. Kevin handed the Board an outline of
his remarks relative to the application including photographs of the actual Island taken
from various locations.

Mr. Kirrane stated in his outline, Exhibit A depicts a copy of the land court decree
plan dating back to 1954 which shows a structure situated in the middle of the Island. He
also included Exhibit B of an Affidavit of Robert J. Nelson, Jr. who owned the property
for more than 50 years and indicated the use of the property and how it was accessed.

MASHPEE ZONING BOARD OF APPEALS
Robert D. Emmeluth, Trustee
0 Gooseberry Island, (Map 100 Parcel 6-0-R)
: Mashpee, MA 02649
V-2013-45

Exhibit C of the outline is an email from former Fire Chief George W. Baker, dated
August 12, 2013 stating he does not. object to the construction of one single-family
residential structure on the lot provided upon submitting a condition relative to the
installation of sprinklers within the particular dwelling. Mr. Kirrane also attached Exhibits
D and D-1, Variance Decisions issued by the Zoning Board relative to properties located
at 80 and 84 Punkhom Point Road that were granted similar relief.

Mr. Kirrane stated the applicant is seeking relief from the requirements of frontage
The Island has existed before the adoption of zoning in the Town and before the adoption
of any frontage requirements pursuant to zoning by-laws in the Town. The Island is situated
in a residentially zoned area and in the past was the site of small cottage or camp that was
used by the previous owners and current owners. Although to structure exists today, it was
used in the past years for fishing, hunting and other recreational activity.

Mr. Kirrane stated that variances are difficult to obtain and there is certain criteria
the Board must consider. The first relates to soil conditions, shape or typography of the
land or structures which especially effect this particular lot and not generally affecting the
Zoning District that this lot or parcel is located. In addition, the applicant should be able to
demonstrate the existence of a hard-ship, and finally the relief be granted without
substantial detriment to the public good or without nullifying or substantially derogating
from the intent of the by-law.

Mr. Kirrane stated the lot itself is in excess of 3 acres and the proposed dwelling to
be located on the lot would conform in all other respects to Zoning requirements and
obviously there would be a need for the applicant to submit plans to Conservation, and_
Board of Health when the time arises to propose a single-family dwelling on the lot. He
also mentioned the submitted plan shows the approximate location of the dwelling and
where it would be situated.

Conservation Comments:

October 4, 2013 emailed received from Andrew McManus, Conservation Agent;
“This will require a filing with the Conservation Department- Certified delineations of
flood zone(s), coastal banks, salt marsh, bordering vegetated wetlands and/or any rare
species habitat(s) must be supplied to the Conservation Commission for any and all
disturbances within 100 feet of the aforementioned wetland resource areas- ref. Chapter
172-1 of the Mashpee wetland by-law & 310 CMR 10.00- State Wetlands Protection Act.”

MASHPEE ZONING BOARD OF APPEALS
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0 Gooseberry Island, (Map 100 Parcel 6-0-R)
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MASHPEE ZONING BOARD OF APPEALS
Robert D. Emmeluth, ‘Trustee
0 Gooseberry Island, (Map 100 Parcet 6-0-R)
Mashpee, MA 02649
V-2013-45

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costs for the Town.

General Findings:

Gooseberry Island consists of 3.9 acres.

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MASHPEE ZONING BOARD OF APPEALS
Robert D. Emmeluth, Trustee
0 Gooseberry Island, (Map 100 Parcel 6-0-R)
Mashpee, MA 02649
V-2013-45

Specific Criteria:

§174-31. Land Space Requirements ‘Table.

History: Amended 5-8-1989, STM, Article 4, approved by Attorney General 8-10-1989,

History: Amended [0-7-1991 ATM, Articles 13 and 24, approved by Attorney General 2-3-1992.
§174-31. Land Space Requirements Table

History: Amended 5-8-1989, STM, Article 4. approved by Attorney General 8-10-1989.

History: Amended 10-7-1991 ATM, Articles 13 and 24, approved by Attorney General 2-3-1992.

Town of Mashpee - Land Space Requirements Table ?”

Minimum Building Setback to|Maximum Building
Lot Lines # Height#!71821
Zoning District Minimum Lot}Minimum — Lot} Front?46l% 2,/ Rear? |Side*5"™ | (Stories) _{(feet) | Maximum
Size (square feet) |Frontage!*™ (feet) 19,23 3 (feet) Lot
(feet) (feet) Coverage!
® (percent)
Residence Districts
R-3 40,000 150 40 15 15 2 1/2 35 20°
R-5 80,000 150 40 25 25 21/2 35 20°
Commercial
Districts -
C-1 40,000 200 44 40° _|208 2 (35__f25*
C-2 40,000 200 _ 7514 20°% 1208 2 35 20°
C-370 40,000 200 75 20 20 2% 35 [20
Industrial Districts
i-1 40,000 200 75 50 308 2 35 25

Land Space Requirements Table Footnotes

1 For lots where any part of the front lot line is on an are of a curve with a radius of three hundred (300) feet
or less, lot frontage may be measured along a straight line connecting the points of intersection of the side
tot ines with the minimum building setback line applicable to the lot under this bylaw.

History: Amended 10-7-1996, ATM, Article 29, approved by Attorney General 12-9-1996.

2 Not less than the frontage requirements shall be maintained throughout the front yard depth, except as
provided for in Note 1 above,

3 On lots abutting sireets or public ways on more than one (1) side, the front setback requirements shall apply
to each of the abutting street and public ways. In the case of undefined ways, the measurements shall be taken
from the center of the road and an additional twenty (20) feet shall be required.

History: Amended 10-2-2000 ATM, Article 33, approved by Attorney General 1-12-2001.

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4 These height restcictions shall not apply to chimneys, water towers, skylights and other necessary features
appurtenant to buildings which are usually carried above roofs and are not used for human occupancy nor to
wireless or broadcasting towers and other like unenclosed structures, except that when any structure or
portion of a structure is proposed to exceed forty (40) feet in height, construction shall require a Federal
Aviation Administration (FAA) Determination of No Hazard or evidence of exemption for the determination.
process, Other than for those items excepted above, height shall be measured from the average original grade
of the land adjacent to the foundation line of any proposed structure (prior to the clearance of the natural

vegetation from said site) to any applicable point on a stracture. Except for a traditional widow’s walk of up -

to one hundred (100) square feet in area, roof decks will be permitted only if located directly on top of the
first or second story of any building.

History: Amended 10-16-2006 ATM, Article 30, approved by Attorney General 2-13-2007.

5 See Article IX regarding motels, attached dwellings and apartments.

Elistory: Amended 12-9-2002 STM, Article 11, approved by Attomey General 2-19-2003.

6 A dwelling need not be set back more than the average of the setbacks of dwellings on the lots adjacent. to
either side. Ifa vacant lot exists on oue (1) side, it shall be considered as a dwelling set back the depth of the
required front yard.

7 Except no requirement when the side of a building abuis another building.

8 Except fifty (50) feet when abutting a residential zone (except residentially zoned land which i is a part of
the same parcel on which the industrial or commercial use lies and which cannot be later separated or
developed for residential use).

History: Amended 5-8-1989 ATM, Article 4, approved by Attorney General 8-10-1989.

9 Floodplain restrictions ave set forth in. Article XT.

10 All land space requirements shall apply to accessory uses.

1] Except that no building in any industrial district may be located within 150 feet of Routes 28 or 151.
History: Amended 5-5-2003 ATM, Article 26, approved by Attorney General 8-27-2003.

12 Any water or wetland as defined under MGL C. 131, §40, any exist’ng or proposed street, any roadway
right-of-way or easement twenty (20) feet or more in width or any overhead utility right-of-way or casement
twenty (20) feet or more in width may not be counted toward minimum lot size requirements.

History: Amended 10-7-1991 ATM, Article 24, approved by Attorney General 2-3-1992,

13 Minimum lot frontage for lots fronting only on Routes 28 and 151 shall be six hundred (600) feet.

14 No builcling may be located within 75 feet of Routes 28 and 151, Great Neck Road South and North or
Route 130 west of Great Neck Road (except within the Mashpee Center Overlay District) and, except for
permitted signs and one (1) access driveway involving clearance of a path no more than forty (40) feet in
width, any land within fifty (50) feet of said roads shall be left as a wooded buffer area in its natural state,
except that said area may be reduced by the Planning Board as pat of its decision on a special permit
approved under §174-45.1 or §174-46. Where such area is not naturally wooded, it shall be suitably planted
with sufficient trees and under story vegetation, of a type common in natural areas of Mashpee, to replicate
anatutally wooded area and to constitute a visual barrier between the proposed development and the roadway.
Under no circumstances will parking, retention ponds, or any other development involving natural vegetation
be permitted within said area. Limited, appropriate tree surgery or similar limited maintenance required to
protect the health of vegetation in this area may be allowed with the approval of the special permit authority
which originally authorized the project which included said area or, if no special permit was required, with
the approval ofa majority of the Planning Board. In Conumercial and Industrial Districts, any land within the
side and rear Jot lines shall have at a minimum a ten (10) foot vegetated buffer, either in its natural state or
in accordance with a landscape plan approved by the Design Review Committee, with the recommendation
made to the Zoning Board of Appeals or the Planning Board. Said buffer may be waived, as part of a special
permit decision, where the special permit granting authority determines that such buffer would be
inappropriate for the area and where there is a written agreement to said waiver by the abutting property
owner, History: Amended 5-1-2000 ATM, Article 32, approved by Attorney General 8-7-2000.

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MASHPEE ZONING BOARD OF APPEALS
Robert D. Emmeluth, Trustee
0 Gooseberry Island, (Map 100 Parcel 6-0-R)
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V-2013-45

History: Amended 10-2-2000 ATM, Article 33, approved by Attorney General 1-12-2001.

History: Amended 10-20-2003 ATM, Article 15, approved by Attorney General 11-14-2003.

History: Amended 10-16-2006 ATM, Article 28, approved by Attorney General 2-13-2007.

15 Where a lot in any industrial districts fronts on Routes 28, 151 or 130, except for permitted signs and one
(1) access driveway involving clearance of a path no more than forty (40) feet in width, the first one hundred
(100) feet of the front sctback area shall be left wooded and in its natural state. Where such area is not
naturally wooded, it shall be suitable landscaped with a sufficient number of trees or a type common in
Mashpee to constitute a visual barrier between the proposed development and the roadway. Under no
circumstances will parking, retention ponds or any other development involving clearance of natural
vegetation be permitted within said area. Nothing herein is intended to prohibit appropriate tree surgery or
similar maintenance of vegetation in this buffer area.

16 Any water or wetland, as defined under MGL, C.131, $40, any existing or proposed street or any roadway,
right-of-way or easement twenty (20) feet or more in width may not be ccunied toward lot size for the purpose
of calculating maximum lot coverage. For lots in any cluster subdivision, maximum lot coverage shall be
thirty 30) percent.

History: Added 10-7-1991 ATM, Article 24, approved by Attommey General 2-3-1992.

History: Amended 10-7-1996, ATM Article 28, approved by Attorney General 12-9-1996.

17 Except as otherwise allowed under $174-46, Open space incentive development.

History: Added 10-7-1991 ATM, Article 24, approved by Attorney General on 2-3-1992.

18 Maximum height within the Popponesset Overly District shall be thirty (30) feet, subject to the provisions
of Footnote 4 of this table. Minimum lot size shall be 6000 square feet, minimum frontage sixty (60) feet,
minimum. building setbacks 25 feet front, 15 feet rear and 15 feet side and maximum of lot coverage twenty
(20) percent.

tistory: Added 5-3-1993 ATM, Article 12, approved by Attorney General 7-19-1993.

History: Amended 5-6-1997, ATM, Article 46, approved by Attorney General 9-25-1997,

19 These setback requirements shall not apply to the following buildiig projections provided they do not
exceed the sizes specified, as meusured from the foundation line along a line perpendicular to the nearest
property line: chimney projecting no more than three (3) feet, house overhang projecting no more than two
(2) feet, roof overhang projecting no more than three and one-half (3 1/2) feet, and open decks or platforms
used for egress projecting no more than four (4) feet, These setback requirements shall also not apply to stairs
required as a means of egress, basement bulkhead of the haich door type or handicapped access ramps on
private property used solely for the purpose of facilitaling ingress or egress of a physically handicapped
person, as defined in MGL C, 22, 813A.

History: Added 10-4-1993 ATM, Article 26, approved by Attommey Gereral 10-18-1993.

20 Minimum front building seiback within the Mashpee Overlay District shall be twenty (20) feet and
maximum allowed building setback for the principal structure on a lot shall be forty (40) feet.

Except as required by §174-25.1,

History: Added 10-4-1999 ATM, Article 29, approved by Atiarney Gencral 1-11-2000.

History: Amended 10-7-2002 ATM, Article 22; approved by Attorney General 11-27-2002

21 Except that hotels and motels (and not other uses) approved by the Planning Board under the provisions
of §174-45 may be increased to three (3) stories aud forty five (45) feet, if approved by the Board, provided
ihat there is adequate access for Fire Department vehicles and equipment and that all Fire Protection
Construction Documents required by 780 CMR. Subsection 903.1.1 of the Massachusetts State Building
Code, have been submitted to the Planning Board and Fire Department as part of the special permit
application and the Board is satisfied that the standards of said Subsection will be met.

History: Amended 10-18-2004 ATM, Article 40, approved by Attorney General 12-16-2004

22 Minimum front buiiding setback within the Mashpee Center Overlay District shall be twenty (20) feet and
maximum allowed building setback for the priucipal structure on a lot shall be forty (40) feet.

History: Added. 10-17-2005 ATM, Article 18, approved by Attorney General 3-7-2006

23 Minimum required setback from rear or side property lines shall be five (5) feet for sheds or similarly
noninhabitable structures not exceeding 120 square feet in floor area or twelve (12) feet in height.

History: Added 10-17-2005 ATM, Actisle 13, approved by Attorney General 3-7-2006

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MASHPEE ZONING BOARD OF APPEALS
Robert D. Emmeluth, Trustee
0 Gooseberry Island, (Map 100 Parcel 6-0-R)
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V-2013-45

Mr. Forbush concluded stating the several concerns with this project were medical
emergencies, public safety, the question of hardship and the Tribe’s comments on the effect
of the oyster beds and septic system.

The Board, upon review of the testimony and evidence, determined that the
proposed Variance would not advance the Town’s interest in maintaining the public safety
in further grant of Variance would in fact derogate from the underline purpose and intent
of the Zoning By-laws.

In view of the foregoing, the Board made a motion on October 9, 2013 at the Public
Hearings of the Zoning Board of Appeals and voted as follows: Mr. Jonathan D. Furbush,
denied, Mr. William A. Blaisdell, denied, Mr. James Reiffarth, denied, Mr. Richard Jodka,
in favor, Mr. Domingo K. DeBarros, denied, the Petitioner, Robert D. Emmeluth, Trustee,
Gooseberry Island Trust request for a Variance from Article V §174-31 of the Zoning By-
laws requiring a 150’ of frontage on a street in order to construct a single family residence
on property located in an R-3 Zoning District at 0 Gooseberry Island, (Map 100, Parcel 6-
0-R), Mashpee, MA. Referencing plot plan from BSS Design Engineering and Surveying,
of Gooseberry Island, Mashpee, MA prepared for Gooseberry Island Trust dated October
4, 2013.
MASHPEE ZONING BOARD OF APPEALS
Robert D. Emmeluth, Trustee
0 Gooseberry Island, (Map 100 Parcel 6-0-R)
Mashpee, MA 02649
V-2013-45

IN FAVOR: TO DENY: CFA a

Jgnathan Furbush

IN FAVOR: TO DENY: WA
- William A. Blaisdell

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TO DENY:

IN FAVOR: TO DENY:

Domingdk. DeBarros

This Decision has been duly filed on October 22, 2013
with the Town Clerk of Mashpee. Any Appeals shall be
made pursuant to Section 17 of the Massachusetts General
Laws Chapter 40A with:n Twenty days after the date of
said filing.

This Decision is effective when a Certified Copy is filed at
the Barnstable County Registry of Deeds, A Certified
Copy may be obtained from the Town Clerk the next
business day after the expiration of the 20-day Appeal
phase, which lasts through November 11, 2013

Special Permits shall lapse two years after date of grant.
Appeals shall lapse one year after date of grant. If the
rights authorized by a Variance are not exercised within
one year of date of grant of such Variance, such rights shall
lapse unless: (1) substantial use or construction has
commenced, or (2) a Petition for a six-month extension has
been filed prior to the expiration date, or (3) the property
that is the subject of the Variance has been conveyed in
oe reliance on said Variance prior to the expiration date of
, REGEN such one year period.

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Mashpee, Massachusetis 02649.

MASHUPEE ZONING BOARD OF APPEALS
DECISION FOR A VARIANCE

V~-2013-46
Robert D. Emmeluth, Trustee of Certificate of Title # 195170
Gooseberry Island Trust Plant: 25209-A,
c/o Boudreau & Boudreau
0 Gooseberry Island

Map 100 Parcel 6-0-R

A Petition was filed on August 29, 2013 requesting a Variance from Article VII
$174-32 of the Zoning By-laws requiring Fire Department apparatus access as defined in
said Section to allow for the construction of a single family residence on property located
in an R-3 Zoning District at 0 Gooseberry Island, (Map 100, Parcel 6-0-R), Mashpec, MA.

Notice was duly given to abutters in accordance with Massachusetts General Laws
Chapter 40A. Notice was given by publication in The Mashpee Enterprise, a newspaper of
general circulation in the Town of Mashpee, on September 20, 2013 and September 27,
2013 a copy of which is attached hereto and made a part hereof.

On October 9, 2013, Public Hearings were held on the Petition at the Mashpee
Town Hall at which time the following members of the Board were present and acting
throughout: Chairman, Jonathan D. Furbush, Vice Chairman, William A. Blaisdell, Board
Members, James Reiffarth and Richard Jodka, and Associate Member, Domingo K.
DeBarros.

The Mashpee Zoning Board of Appeals issues this Decision pursuant to the
provisions of Massachusetts General Laws Chapter 40A §9 and the Town of Mashpee
Zoning By-laws.

Attorney Kevin Kirrane representing the Petitioner, Gooseberry Island Trust in
connection with the application for variance relief. Kevin handed the Board an outline of
his remarks relative to the application including photogranhs of the actual Island taken
from various locations.

Mr. Kirrane stated in his outline, Exhibit A depicts a copy of the land court decree
plan dating back to 1954 which shows a structure situated in the middle of the Island. He
also included Exhibit B of an Affidavit of Robert J. Nelson, Jr. who owned the property
for more than 50 years and indicated the use of the property and how it was accessed.

MASHPEE ZONING BOARD OF APPEALS
Robert D. Emmeluth, Trustee
0 Gooseberry Island, (Map 100 Parcel 6-0-R)
Mashpee, MA 02649
V-2013-46

Exhibit C of the outline is an email from former Fire Chief George W. Baker, dated
August 12, 2013 stating he does not object to the construction of one single-family
residential structure on the lot provided upon submitting a condition relative to the
installation of sprinklers within the particular dwelling. Mr. Kirrane also attached Exhibits
D and D-1, Variance Decisions issued by the Zoning Board relative to properties located
at 80 and 84 Punkhorn Point Road that were granted similar relief.

Mr. Kirrane stated the applicant is seeking relief from the requirements of frontage
The Island has existed before the adoption of zoning in the Town and before the adoption
of any frontage requirements pursuant to zoning by-laws in the Town, The Island is situated
in a residentially zoned area and in the past was the site of small cottage or camp that was
used by the previous owners and current owners. Although no structure exists today, it was
used in the past years for fishing, hunting and other recreational activity.

Mr. Kirrane stated that variances are difficult to obtain and there is certain criteria
the Board must consider. The first relates to soil conditions, shape or typography of the
land or structures which especially effect this particular lot end not generally affecting the
Zoning District that this lot or parcel is located. In addition, the applicant should be able to
demonstrate the existence of a hard-ship, and finally the relief be granted without
substantial detriment to the public good or without nullifying or substantially derogating
from the intent of the by-law.

Mr. Kirrane stated the lot itselfis in excess of 3 acres and the proposed dwelling to
be located on the lot would conform in all other respects to Zoning requirements and
obviously there would be a need for the applicant to submit plans to Conservation, and
Board of Health when the time arises to propose a single-family dwelling on the lot. He
also mentioned the submitted plan shows the approximate location of the dwelling and
where it would be situated.

Conservation Comments:

October 4, 2013 emailed received from Andrew McManus, Conseryation Agent;
“This will require a filing with the Conservation Department- Certified delineations of
flood zone(s), coastal banks, salt marsh, bordering vegetated wetlands and/or any rare
species habitat(s) must be supplied to the Conservation Commission for any and all
disturbances within 100 feet of the aforementioned wetland resource areas- ref. Chapter
172-1 of the Mashpee wetland by-law & 310 CMR 10.00- State Wetlands Protection Act.”
MASHPEE ZONING BOARD OF APPEALS
Robert D. Emmeluth, Trustee
0 Gooseberry Island, (Map 100 Parcel 6-0-R)
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V-2013-46

Mx. Furbush stated the plot plan depicts the setback frorn the wetlands to 100 feet
on the left side and does not show the distance between the vroposed house and wetlands.
The required setback is 150 feet. The setback from the house and wetlands is 50 feet. He
also stated the plan shows the flood zone as Al] which means the first floor of the dwelling
would require to be 11 feet above water. He stated that he would not entertain any motion
until he received definitive answers from other Boards.

Mr. Furbush stated there are specific questions to bc addressed such as emergency
access and disturbance of the wetlands. He is very concerned if three years from now
someone has a medical emergency. He asked Mr. Thomas Rullo, Acting Fire Chief who
was present at the meeting what the time-line the State allows to arrive at a particular house
and the guideline,

Fire Department Comments:

August 12, 2013 email received from Fire Chief Baker stating; “I have met with
the principles of the proposed residential occupancy on Gooseberry Island. As noted in the
aitached correspondence they will agree as a condition of a zoning wavier to install a
residential fire sprinkler system. Due to the fact that they are taking this action I am not
opposed to a waiver of 174-32 or other zoning requirements that have to do with road
access. Please communicate this information to the Zoning Board of Appeals.”

Thomas Rullo, Acting Fire Chief, addressed the Board to comment and answer any
specific safety questions. He stated the only access to the Island is by boat and there would
be a delay because there is no direct access. He stated there is an NFPA guideline, but Chief
Baker had a guideline that he tried to uphold for over 20 years and that is a 6-7 minute
mark, and would not be able to meet this time. Under normal circumstances, it’s going to
be delayed. Under adverse weather conditions, he was not sure he could arrive at all. He
stated that former Fire Chief Baker had asked or was rendering an answer to the question
of the building of the house and does not pertain to the access. Ile stated that Fire Chief
Baker only addressed the house and not access. He stated that the sprinkler system is not
designed to put out a fire. A sprinkler system is designed to contain the fire so the Fire
Department has time to respond to a structure and put the fire out. The sprinkler system is
designed to give the occupants more time to exit the home safely. This is for any structure
whether commercial or residential.

Mr. Rullo stated the only access to the Island would be by boat from the Mashpee
Neck dock location. He stated the boat is stored at the main fire station off Route 151.

MASHPEE ZONING BOARD OF APPEALS
Robert D. Emmeluth, Trustee
0 Gooseberry Island, (Map 100 Parcel 6-0-R)
Mashpee, MA 02649
V-2013-46

Board of Health Comments:

October 9, 2013 emailed received from Glen Harrington, Mashpee Health Agent;
“The October 4, 2013 plan depicts a septic system that is 100’ from wetland but it does not
meet the BOH 150’ setback requirement for a coastal bank. A potable well must be proven
before a building permit is issued. The BOH well setback requirement is 150’, This will be
treated as new construction as no septic permits exist or evidence of previous occupied
dwellings on the Island exist in BOH records”.

Harbormaster Comments:

October 7, 2013 emailed received from Stephen Mone, Harbormaster stating; he
wanted to know how the occupants would access the island, a dock on island, a dock on
mainland, or bridge. He also stated the Tribe has a working snellfish grant around the island
that may restrict access.

Public Comments:

Vice Chairman, Mr. Blaisdell read letters submitted to the Board by abutters that
reside at 70 Punkhorn Point Road, 77 Punkhorn Point Road, 79 Punkhorn Point Road, 85
Punkhorn Point Road and 89 Punkhorn Point Road that were in favor of the proposed
project.

Several abutters and Representatives of the Mashpee Wampanoag Tribe were
present and addressed the Board and spoke in opposition. "Tessie (Little Doe) Baird, Vice
Chairman. of the Mashpee Wampanoag ‘Tribe stated her concerns the applicant had no
regard for conditions of the Island or the shellfish grant. Attorney Charles Savon,
representing his client that resides at 84 Punkhorn Point Road opposed stating this variance
is a “self-imposed” hardship and does not qualify under cage law as a hardship and
inconsistent with the bylaw of a lot fronting a street. Tribal Chairman, Cedric Cromwell
approached the Board stating he is strongly against the proposal besides safety and health
is environment concerns for Popponesset Bay. John Weltman, of 80 Punkhorn Point Road
spoke in opposition regarding safety issues. George Green, Assistant Director of the
Natural Resource Department for the Tribe is opposed to the project and described the
detail of the shellfish grant and hope to reach the 90% TMDL benchmark lowering sewer
costs for the Town.

General Findings:

Gooseberry Island consists of 3.9 acres.

MASHPEE ZONING BOARD OF APPEALS
Robert D. Emmeluth, Trustee
0 Gooseberry Island, (Map 100 Parcel 6-0-R)
Mashpee, MA 02649 :
V-2013-46

Specific Criteria:

§174-32 Fire protection:

To ensure that all buildings shall be accessible to Fire Department apparatus by
way of access roadways capable of supporting firefighting apparatus with an all-weather
surface roadway, there shall be an unobstructed, paved access roadway of not less than
twenty (20’) feet with a vertical clearance of not less than thirteen (13’) feet six (6’’) inches
with all corners having a minimum inside radius of not less than twenty-eight (28’) feet
and a minimum outside radius of not less than forty-six (46’) feet. Said access roadway —
shall be constructed to a point not less than one hundred fifty (150’) feet from the furthest
point of any building on the lot. Where there is a lot with only a one-family dwelling and/or
a residential accessory building, such access, where it lies within the lot, may be by a
maintained all-weather surface driveway, constructed by any combination and’
manipulation of soils, with or without admixtures, which produce a firm mass capable of
supporting fire apparatus in all weather conditions and having an improved surface width
of twelve (12’) feet and a cleared width of sixteen (16’) feet. .

History: Added 5-6 1985, ATM, Article 22, approved by Attorney General 9-12-1985,
History: Amended J10-3-1994, ATM, Article 18, approved by Attorney General 1-18-1995,

Mr. Furbush concluded stating the several concerns with this project were medical
emergencies, public safety, the question of hardship and the Tribe’s comments on the effect
of the oyster beds and septic system.

The Board, upon review of the testimony and evidence, determined that the
proposed Variance would not advance the Town’s interest in maintaining the public safety
in further grant of Variance would in fact derogate from the underline purpose and intent
of the Zoning By-laws.

[In view of the foregoing, the Board made a motion on October 9, 2013 at the Public
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at 0 Gooseberry Island, (Map 100, Parcel 6-0-R), Mashpee, MA.

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TO DENY: “SS Ups

athan Furbush

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William A. Blaisdell

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Domingo/K. DeBarros

This Decision has been duly filed on October 22, 2013
with the Town Clerk of Mashpee. Any Appcals shall be
made putsuant to Section 17 of the Massachusetts General
Laws Chapter 40A within Twenty days after the date of
said filing.

This Decision is effective when a Certified Copy is filed at
the Barnstable County Registry of Deeds. A Certified
Copy may be obtained from the Town Clerk the next
business day after the expiration of the 20-day Appeal
phase, which lasts through November 11, 2013

Special Permits shall lapse two years after date of grant.
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been filed prior to the expiration date, or (3) the property
that is the subject of the Variatice has been conveyed in

lec reliance on said Variance prior to the expiration date of

such one year period.
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EXHIBIT 11
COMMONWEALTH OF MASSACHUSETTS
EXECUTIVE OFFICE OF ENERGY & ENVIRONMENTAL AFFAIRS

DEPARTMENT OF ENVIRONMENTAL PROTECTION
ONE WINTER STREET, BOSTON, MA 02108 617-292-5500

THE OFFICE OF APPEALS AND DISPUTE RESOLUTION

June 16, 2017
In the Matter of OADR Docket No. WET-2015-016
Gooseberry Island Trust and DEP File No. SE-43-2773
SN Trust Mashpee, MA

RECOMMENDED FINAL DECISION

INTRODUCTION

The Gooseberry Island Trust and the SN Trust (collectively “the Petitioners”) originally
filed this appeal challenging a Superseding Order of Conditions (“SOC”) that the Southeast
Regional Office of the Massachusetts Department of Environmental Protection (“MassDEP” or
“the Department”) issued to the Petitioners pursuant to the Massachusetts Wetlands Protection
Act, G.L. c. 131, § 40 “MWPA”) and the Wetlands Regulations, 310 CMR 10,00 et seq. (“the
Wetlands Regulations”) denying their proposed construction of a timber bridge extending from 0
Punkhorn Point Road in Mashpee, Massachusetts (“Mashpee”) across a narrow channel of water
to Gooseberry Island in Mashpee (“the original proposed Project”). SOC, at pp. 1-2. The
proposed timber bridge was to be an 11 fect wide by 200 feet long structure supported by thirty-

nine 14 inch diameter timber piles that was to provide vehicular and pedestrian access from the

This information is available In alternate format. Cal) Michelle Waters-Ekanem, Diversity Direc:or, at 617-292-5751. TOD# 1-886-839-7622
or 1-617-574-6868
MassDEP Website: www.mass.gov

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Mashpee mainland to Gooseberry Island. Id. The proposed timber bridge was also to facilitate
the Petitioners’ construction of a single family home on Gooseberry Island, which the Town of —
Mashpee Zoning Board of Appeals (“ZBA”) had previously rejected due to the lack of vehicular
access between Gooseberry Island and the Mashpee mainland. Pre-filed Direct Testimony of
Thomas J. Bunker, PLS “Mr. Bunker’s PFT”), { 12.

The Department’s SOC affirmed the Town of Mashpee Conservation Commission’s
(“MCC”) earlier denial of the original proposed Project after determining that the Project failed
to satisfy the Performance Standards for activities in Salt Marsh as set forth in the Wetlands
Regulations at 310 CMR 10.32(3) and 10.32(4).! SOC, at p. 2. The Department determined that
the original proposed Project failed to satisfy the Performance Standards for Salt Marsh for the
following reasons. Id.

310 CMR 10.32(3) provides in relevant part that “[a] proposed project in a salt marsh, on
lands within 100 feet ofa salt marsh, or in a body of water adjacent to a salt marsh shall not
destroy any portion of the salt marsh and shall not have an adverse effect on the productivity of
the salt marsh.” The Department determined that “Tt}he [original] proposed project would

destroy salt marsh and would have an adverse effect on the productivity of the salt marsh”

' The Wetlands Regulations at 310 CMR 10.32(2) define “Salt Marsh” as:

a coastal wetland that extends landward up to the highest high tide line, that is, the highest spring tide of the
year, and is characterized by plants that are well adapted to or prefer living in, saline soils. Dominant plants
within salt marshes typically include salt meadow cord grass (Spartina patens) and/or salt marsh cord prass
(Spartina alterniflora), but may also include, without limitation, spike grass (Distichlis spicata), high-tide
bush (Iva frutescens), black grass (Juncus gerardii), and common reedgrass (Phragmites). A salt marsh
may contain tidal creeks, ditches and pools.

Under the Regulations, “Salt marshes are significant to protection of marine fisheries, wildlife habitat, and where
there are shellfish, to protection of land containing shellfish, and prevention of pollution and are likely to be
significant to storm damage prevention and ground water supply.” 310 CMR 10.32(1). As such, no work or
activities may be authorized in Salt Marsh unless they satisfy the applicable “Performance Standards” in 310 CMR
10.32(3)-10.32(6). “Performance Standards” are “th{e] requirements established by [the Wetlands Regulations] for
activities in or affecting [specific wetlands areas protected by MWPA].” 310 CMR 10.04. The Performance
Standards appear at 310 CMR 10.25 through 10.35 and 10.37, and 3 10 CMR 10.54 through 10.60. Id.

In the Matter of Gooseberry Island Trust and SN Trust, OADR Docket No. WET-2015-016

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because: (1) “the installation of [sixteen] 14-inch diameter piles within the salt marsh would
result in the physical destruction of 17.1 square feet of salt marsh” and (2) “the shading impacts
of 990 square feet of bridge decking would have an adverse effect on the productivity of the salt
marsh by retarding growth and altering the distribution and composition of the underlying
vegetation.” SOC, at p. 2.

310 CMR 10,32(4) provides that “[nJotwithstanding the provisions of 310 CMR 10.32(3),
a small project within a salt marsh, such as an elevated walkway or other structure which has no
adverse effects other than blocking sunlight from the underlying vegetation for a portion of each
day, may be permitted if such a project complies with all other applicable requirements of [the
Wetlands Regulations at] 310 CMR 10.21 through 10.37.” The Department determined that the
Petitioners’ proposed timber bridge was not a “small project” pursuant to 310 CMR 10.32(4)
because “the proposed] structure [would be] 11 feet wide by 200 fect long and utilize[e] [thirty-
nine] 14-inch diameter piles to support the structure.” SOC, at p. 2. The Department also
determined that “[d]ue to its east-west orientation and size, the large bridge [would] block at
least 50% of the sunlight from the underlying vegetation for the majority of, if not the entire
day.” Id.

The Petitioners initially claimed that the Department’s SOC denying the original
proposed Project was improper, but shortly after filing this appeal, they waived their challenge to
the SOC by withdrawing their original proposed Project plan and submitting a revised proposed
Project Plan (“Revised Project Plan”) to the Department proposing to construct a steel bridge
instead of a timber bridge. The Department supports the Petitioners’ Revised Project Plan and
requests that the Plan be reviewed and approved in this appeal pursuant to the Department’s Plan

Change Policy, as set forth in Wetlands Program Policy 91-1: Plan Changes, because the

In the Matter of Gooseberry Island Trust and SN Trust, OADR Docket No. WET-2015-016

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Petitioners’ proposed steel bridge alternative purportedly is not substantially different from their
originally proposed timber bridge and reduces wetlands impacts and satisfies the Performance
Standards for work in Salt Marsh at 310 CMR 10.32, Land Containing Shellfish at 310 CMR
10.34,” and Coastal Beach/Tidal Flat at 310 CMR 10.27(3) and 10.27(6).’ See below, at pp. 28-
50. However, the MCC and two groups of Intervenors opposed to the proposed Project’ contend

that the Petitioners’ Revised Project Plan cannot be reviewed and approved in this appeal for

? Under 310 CMR 10.34(2), “Land Containing Shellfish means .. . salt marshes... when [they]... contain[n]
shellfish.” Shellfish are defined as including the following species: Bay scallop (Argopecten irradians); Blue mussel
(Mytilus edulis); Ocean quahog (Arctica islandica); Oyster (Crassostrea virginica); Quahog (Mercenaria
merceneria); Razor clam (Ensis directus); Sea clam (Spisula solidissima); Sea scallop (Placopecten magellanicus);
and Soft shell clam (Mya arenaria). 310 CMR 10.34(2).

3 Under 310 CMR 10.27(2):

Coastal Beach [is] unconsolidated sediment subject to wave, tidal and coastal storm action which forms the
gently sloping shore of a body of salt water and includes tidal flats. Coastal beaches extend from the mean
low water line landward to the dune line, coastal bankline or the seaward edge of existing human-made
structures, when these structures replace one of the above lines, whichever is closest to the ocean.

A Tidal Flat is defined as “any nearly level part of a coastal beach which usually extends from the mean low water
line landward to the more steeply sloping face of the coastal beach or which may be scparatcd from the beach by
land under the ocean.” 310 CMR 10.27(2).

“ The Intervenors are:

qd) the members of the Wolpe, Atkins, and Weltman Group consisting of Robert A. Wolpe, Michelle
. A. Wolpe, James C. Atkins, Jr., and John J. Weltman, who contend that they own a portion of the
land on which the Petitioners seek to build the bridge and where Salt Marsh is located; and

(2) the members of Mashpee Wampanoag Tribe Group consisling of the Mashpee Wampanoag Tribe,
a federally recognized Indian tribe, and 12 of its Tribal Members, who contend that since 1977 the
Tribe has held a Shellfish Grant License from the Town of Mashpee and approved by the
Commonwealth that authorizes the Tribe to grow shellfish in the area where the Petitioners seek to
build the bridge and that the bridge’s construction will result in significant environmental impacts
to the shellfish beds in the area and the permanent loss of shellfish habitat.

Wolpe, Atkins, and Weltman Group’s Motion to Intervene (August 18, 2015); Mashpee Wampanoag Tribe Group’s
Motion to Intervene (August 18, 2015). The Mashpee Wampanoag Tribe and the members of Wolpe, Atkins, and
Weltman Group previously actively opposed the original proposed Project while the Project was undergoing SOC
review by the Department. See March 6, 2015 Letter to Department by Mark C. Tilden, legal counsel to Mashpee
Wampanoag Tribe; March 2, 2015 Letter to Department by Brian M. Hurley, legal counsel to Robert Wolpe and
John Weltman.

In the Matter of Gooseberry Island Trust and SN Trust, OADR Docket No. WET-2015-016
Recommended Final Decision
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following reasons.

First, the MCC and the Intervenors contend that the Petitioners appeal of the SOC was
barred at the outset of appeal’s filing because the MCC rejected the original proposed Project
both pursuant to the MWPA and the Town of Mashpee’s Wetlands Protection Bylaw and the
Petitioners did not appeal the local Bylaw denial to Superior Court.’ See below, at pp. 17-28. In
the alternative, the MCC and the Intervenors contend that if the Petitioners’ appeal of the SOC
was not barred, the Petitioners’ Revised Project Plan cannot be reviewed and approved in this
appeal pursuant to the Department’s Plan Change Policy because the Petitioners’ proposed steel
bridge alternative is substantially different from the originally preposed timber bridge, thus
requiring the Petitioners to file a new NOI with the MCC seeking approval for construction of
the steel bridge. See below, at pp. 28-50. They also contend that the Petitioners’ construction of
the steel bridge will increase, not decrease, impacts to Salt Marsh and Land Containing Shellfish.
Id.

I conducted a one day evidentiary Adjudicatory Hearing to resolve the following issues
raised by the parties’ claims concerning the Petitioners’ Revised Project Plan:

1. Whether the Petitioners’ appeal of the SOC was barred at the
time of the appeal’s filing because they did not appeal to Superior Court

* In issuing its SOC, the Department only affirmed that aspect of the MCC’s denial of the original proposed Project
under the MWPA and the Wetlands Regulations because the Department lacks jurisdiction to review decisions of
local conservation commissions under local Wetlands Protection Bylaws and Regulations. Oyster Creek
Preservation, Inc. v. Conservation Commission of Harwich, 449 Mass. 859, 866-67 (2007); Healer v. Department of
Environmental Protection, 73 Mass. App. 714, 716 (2009); In the Matter of John Walsh and Walsh Brothers
Building Co., Inc., Memorandum and Order Denying Petitioners’ and Harwich Conservation Commission’s Joint
Motion to Proceed (September 10, 2013), 2013 MA ENV LEXIS 92, at 10; Order Granting Petitioners’ Renewed
Motion to Proceed (September 18, 2014); Recommended Remand Decision (April 23, 2015), 2015 MA ENV
LEXIS 35; Decision Adopting Recommended Remand Decision (June 2, 2015), 2015 MA ENV LEXIS 34.

In the Matter of Gooseberry Island Trust and SN Trust, OADR Docket Nc, WET-2015-016
Recommended Final Decision
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the MCC’s denial of the original proposed Project under the Mashpee
Wetlands Protection Bylaw?°

a. Did the MCC issue its Order of Conditions denying the Petitioners’
original proposed Project within 21 days after closing its public

hearing on the Petitioners’ original proposed Project in accordance
with the MWPA and 310 CMR 10.05(6)(a)?

(1) Did the MCC’s public hearing close on January 8, 2015 as
the Petitioners assert or January 22, 2015 as the MCC
asserts?

2. If the Petitioners’ appeal of the SOC was not barred at the outset of the
appeal’s filing, does the Petitioners’ revised Project Plan have plan
changes that are substantially different from the original proposed Project
plan requiring the filing of a new NOI with the MCC?

a. Do the plan changes significantly modify the project
configuration?

b. If so, do the plan changes result in increased impacts to wetlands
resource areas?

At the Adjudicatory Hearing, the parties and the Intervenors were represented by legal
counsel and presented witnesses and documentary evidence in support of their respective
positions in the case. A total of eight witnesses, including six expert witnesses, testified and
each witness was cross-examined under oath on the sworn Pre-filed Testimony (“PFT”) that the
witness had filed prior to the Adjudicatory Hearing in support of the parties’ respective positions
in the case. The Adjudicatory Hearing was stenographically recorded by a certified Court
reporter retained by the Petitioners and/or Intervenors at their expense, and the subsequent

Hearing Transcript was made available to the parties following the Hearing, which assisted them

° The parties agreed that this was the threshold issue in this appeal because if the appeal was barred at the time of its
filing, the second issue above regarding whether the Petitioners’ Revised Project Plan could be reviewed and
approved in this appeal pursuant to the Department’s Plan Change Policy, wou!d be moot.

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in preparing their respective Closing Briefs in the case.
At the Adjudicatory Hearing, three witnesses testified on behalf of the Petitioners:

(1) | Thomas Bunker (“Mr. Bunker”), a Professional Land Surveyor and a
principal of BSS Design, Inc., a land surveying and civil engineering firm
in Falmouth, Massachusetts;

(2) Joseph M. Forns (“Mr. Forns”), a Senior Environmental Scientist and
principal of Applied Marine Ecological Lab, an environmental consulting

- firm in Falmouth, Massachusetts; and

(3) Matthew Haney, the Trustee of the Petitiorer Gooseberry Island Trust and
Trustee of the Petitioner SN Trust (“Mr. Haney”).

One witness testified on behalf of the MCC: its Conservation Agent, Andrew R.
McManus (“Mr. McManus”).
One witness testified on behalf of the Intervenor Wolpe, Atkins, and Weltman Group:
Robert F. Daylor (“Mr. Daylox”), who is a Professional Engineer, a Professional Land Surveyor,
and a Senior Vice President of Tetra Tech, Inc., a national engineering consulting firm with
offices in Marlborough, Massachusetts.
Two witnesses testified on behalf of the Intervenor Mashpee Wampanoag Tribe Group:
(1) Amy M. Ball (Ms. Ball”), a Project Manager and Senior Ecologist at the
Horsley Witten Group, Inc., an environmental consulting firm in

Sandwich, Massachusetts; and

(2) George “Chuckie” Green (“Mr. Green”), the Assistant Director of Natural
Resources for the Mashpee Wampanoag Tribe.

Lastly, one witness testified on behalf of the Department: Mark N. Bartow, an
Environmental Analyst in the Wetlands Program in the Department’s Southeast Regional Office
who conducted the SOC review on behalf of the Department.

As discussed below, based on the testimonial and documentary evidence of the parties’

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respective witnesses at the Adjudicatory Hearing, I find that:

(1) _ the Petitioners’ appeal of the SOC was not barred at the time of the
appeal’s filing because in contravention to the MWPA and 310 CMR
10.05(6)(a), the MCC issued its Order of Conditions denying the original
proposed Project more than 21 days after closing its public hearing on the
Petitioners’ NOI for the proposed Project, and, as such, the Petitioners
were not required to appeal to Superior Court the MCC’s rejection of the
original proposed Project under the Mashpee Wetlands Protection Bylaw;
and

(2) the Petitioners’ Revised Project Plan cannot be reviewed and approved in
this appeal pursuant to the Department’s Plan Change Policy, because the
Petitioners’ proposed steel bridge alternative is substantially different from
their originally proposed timber bridge anc will increase impacts to Salt
Marsh and Land Containing Shellfish.
Accordingly, I recommend that the Department’s Commissioner issue a Final Decision:
(1) affirming the Department’s SOC denying the Petitioners’ original proposed Project because
the Petitioners waived any objections to the SOC by submitting a Revised Project Plan to the
Department in this appeal; and (2) denying review and approval of the Petitioners’ Revised
Project Plan pursuant to the Department’s Plan Change Policy because the Petitioners’ proposed
steel bridge alternative is substantially different from their originally proposed timber bridge and

increases wetlands impacts to Salt Marsh and Land Containing Shellfish.

BACKGROUND

The Petitioners own Gooseberry Island, a 3.5+/- acre island located in the northern part
of Popponesset Bay in Mashpee approximately 200 feet offshore from the end of Punkhorn
Point Road in Mashpee. Mr. Bunker’s PFT, { 9. Gooseberry Island is comprised of
approximately two acres of forested upland and approximately 1.5+/- acres of Salt Marsh. Id.

Gooseberry Island is separated from the Mashpee Mainland by a small channel that is

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approximately 40 feet wide at mean low water, and 80 feet wide at mean high water. Id., q 10.
The 200 feet offshore area separating Gooseberry Island and Punkhorn Point Road on the
Mashpee Mainland consists of Salt Marsh. Id. The maximum water depth is less than two. feet
at mean low water, and the substrate in the channel consists of unconsolidated muck and silt.
Id.

The Intervenor Mashpee Wampanoag Tribe possesses a Private Shellfish Grant that it
received from the Town of Mashpee in 1977 pursuant to G.L. c. 130, §§ 57—68A. Pre-filed
Direct Expert Testimony of Amy M. Ball (“Ms. Ball’s PFT”), 4 9; Exhibit 6 to Ms. Ball’s PFT;
Pre-filed Direct Testimony of George “Chuckie” Green (“Mr. Green’s PFT”), ff 1-4. The
Tribe’s Shellfish Grant is valid through 2027 and occupies the entirety of the tidal creek between
the Mashpee mainland at Punkhorn Point Road and Gooseberry Island and nearly encircles the
Island. Ms, Ball’s PFT, | 9. According to the Commonwealth’s Division of Marine Fisheries
(“DME”),’ the Tribe “currently grow(s] out American oysters [at the site], but would like the
opportunity to grow out other shellfish species as well.” Exhibit 6 to Ms. Ball’s PFT. “Quahogs
[have been] stocked on the south side of [Gooseberry] [I]sland while soft shell clam seed [has
been] planted on the north side of the island.” Id. “[The Tribe’s] members partake in
Sustenance Harvest of ribbed mussels, softshell clams, and quahogs annually.” Mr. Green’s
PFT, § 8.

Prior to seeking approval from the MCC for construction of their originally proposed
timber bridge, the Petitioners sought approval from the Mashpee .ZBA to construct a single-

family home on Gooseberry Island without a means of vehicular access between the Island and

"DMF “is responsible for the conservation of marine fisheries resources[,] includ[ing] managing both recreational
and commercial harvesting of saltwater finfish, shellfish, and crustaceans like lobster and
crab.” http://www.mass.gov/cea/agencies/dfg/about.

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the Mashpee Mainland, including for public safety and other emergency vehicles. Mr. Bunker’s
PFT, 7 12. The lack of such vehicular access caused the Mashpee ZBA in October 2013 to deny
the Petitioners’ proposed construction of the single-family home. Id. As a result, the Petitioners
sought the MCC’s approval under the MWPA, the Wetlands Regulations, and the Mashpee
Wetlands Protection By-law to construct the timber bridge to provide vehicular access between
Gooseberry Island and the Mashpee Mainland. Id. AS discussed above, both the MCC and the
Department rejected the Petitioners’ proposed construction of the timber bridge pursuant to the
MWPA and the Wetlands Regulations, and the MCC also rejected the Project pursuant to the
Mashpee Wetlands Protection By-law. The Petitioners then presented their steel bridge
alternative to the Department through the Revised Project Plan during the pendency of this
appeal of the Department’s SOC.

STATUTORY AND REGULATORY FRAMEWORK

The purpose of the MWPA and the Wetlands Regulations is to protect wetlands and to
regulate activities affecting wetlands areas in a manner that promotes the following eight
statutory interests:

(1) protection of public and private water supply;
(2) protection of ground water supply;

(3) flood control;

(4) storm damage prevention;

(5) prevention of pollution;

(6) protection of land containing shellfish;

(7) protection of fisheries; and

(8) protection of wildlife habitat.

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G.L. c. 131, § 40; 310 CMR 10.01(2); In the Matter of Gary Vecchione, OADR Docket No.
WET-2014-008, Recommended Final Decision (August 28, 2014), 2014 MA ENV LEXIS 76, at
6-7, adopted as Final Decision (September 23, 2014), 2014 MA ENV LEXIS 77; In the Matter of

Webster Ventures, LLC, OADR Docket No. WET-2014-016, Recommended Final Decision

(February 27, 2015), 2015 MA ENV LEXIS 14, at 10-11, adopted as Final Decision (March 26,

2015), 2015 MA ENV LEXIS 10; In the Matter of Elite Home Builders, LLC, OADR Docket

No. WET-2015-010, Recommended Final Decision (November 25, 2015), adopted as Final
Decision (December 17, 2015), 22 DEPR 202, 204 (2015); In the Matter of Sunset City, Inc.,
OADR Docket No. WET-2016-016, Recommended Final Decision (March 31, 2017), 2017 MA
ENV LEXIS 35, at 9-10, adopted as Final Decision (April 21, 2017, 2017 MA ENV LEXIS 33.

The MWPA and the Wetlands Regulations provide that “[n]o person shall remove, fill,
dredge[,] or alter’ any [wetlands] area subject to protection under [the MWPA and Wetlands
Regulations] without the required authorization, or cause, suffer or allow such activity ....”
G.L. c. 131 § 40, | 32; 310 CMR 10.02(2)(a); Vecchione, 2014 MA ENV LEXIS 76, at 7;

Webster Ventures, 2015 MA ENV LEXIS 14, at 11-12; Elite Home Builders, 22 DEPR at 204;

* The Wetlands Regulations at 310 CMR 10.04 define “alter” as “chang[ing] the condition” of any wetlands area
subject to protection under the MWPA and the Wetlands Regulations. Examples of alterations include, but are not
limited to, the following: :

(a) the changing of pre-existing drainage characteristics, flushing characteristics, salinity distribution,
sedimentation patterns, flow patterns and flood retention areas;

(b} the lowering of the water level or water table;

(c) the destruction of vegetation;

(d) the changing of water temperature, biochemical oxygen demand (BOD), and other physical, biological
or chemical characteristics of the receiving water.

310 CMR 10.04. “Dredge” is defined as “deepen[ing], widen[ing], or excavat[ing], either temporarily or
permanently” a protected wetlands area, and “[f]ill means to deposit any material [in a protected wetlands area] so as

to raise an elevation, either temporarily or permanently.” Id.

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Sunset City, 2017 MA ENV LEXIS 35, at 10. “Any activity proposed or undertaken within [a
protected wetlands] area[,]... which will remove, dredge or alter that area, is subject to
Regulation under [the MWPA and the Wetlands Regulations] and requires the filing of a Notice
of Intent (““NOT”)” with the permit issuing authority. 310 CMR 10.02(2)(a). A party must also
file an NOI for “{a]ny activity ... proposed or undertaken within 100 feet of [any protected
wetlands]” described as “the Buffer Zone” by the Regulations, “which, in the judgment of the
[permit] issuing authority, will alter [any protected wetlands].” 310 CMR 10.02(2)(b).

The “[permit] issuing authority” is either the local Conservation Commission when
initially reviewing the applicant’s proposed work in a wetlands resource area protected by the
MWPA and the Wetlands Regulations, or the Department when it assumes primary review of the
proposed work or review on appeal from a local Conservation Commission decision. Healer, 73
Mass. App. Ct. at 717-19. Under the MWPA, a local Conservation Commission may issue an
Order of Conditions authorizing or precluding proposed construction activities in protected
wetlands areas and “[is] allowed to ‘impose such conditions as will contribute to the protection
of the interests described [in MWPA and the Wetlands Regulations]’” and to require that ““‘all
work shall be done in accordance’ with the conditions they might impose... .” id.

Orders of Condition, including any findings and wetlands delineations forming the basis
of the Orders, are valid for three years from the date of the Orders’ issuance. 310 CMR
10.05(6)(d). However, any “order [by the Department] shall supersede the prior order of the
conservation commission [issued pursuant to the MWPA and the Wetlands Regulations]. . . and
all work shall be done in accordance with the [Department’s] order,” Id., unless the Commission
has properly denied the proposed project pursuant to a local Wetlands Protection Bylaw that is

more protective than the MWPA. Oyster Creek, 449 Mass. at 866. This is the case because the

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MWPA “establishes Statewide minimum wetlands protection standards, [but] local communities
are free to impose more stringent requirements” by enacting local Wetlands Protection Bylaws.

Oyster Creck, 449 Mass. at 866; Healer, 73 Mass. App. At 716. As a result, an SOC issued by

the Department under the MWPA approving proposed work in protected wetlands areas cannot
preempt a timely decision of a local conservation commission denying approval of the proposed
work based “on provisions of a local bylaw that are more protective than the [MWPA].” Oyster

Creek, 449 Mass. at 866. This deference to local regulation is supported by General Condition

No. 3 that appears in every SOC issued by the Department. Walsh, 2013 MA ENV LEXIS 92, at
10.

General Condition No. 3 provides that the SOC “does not relieve the [applicant] .. . of
the necessity of complying with all other applicable, federal, state, or local statutes, ordinances,
bylaws, or regulations.” (emphasis supplied). Hence, if a project is denied under a local
Wetlands Protection Bylaw, and “{the] denial ... become[s] final . . . either because it is not
appealed [to Superior Court]? or because on appeal the denial is affirmed [by the Court], there
remains no doubt that .. . [t]his forecloses [the applicant’s ability to comply] with wetlands
General Condition [No.] 3 and, ... therefore, ... the project cannot [proceed].” Walsh, 2013

MA ENV LEXIS 92, at 11-12, citing, In the Matter of Howard Fafard, Docket Nos. 96-040, 96-

044, Final Decision (December 4, 1996), 1996 MA ENV LEXIS 122 at 6. In sum, “[a] final

local wetlands bylaw denial thus makes . . . further project review under the [MWPA] and [the

* Decisions of local conservation commissions approving or rejecting proposed activities in protected wetlands areas
pursuant to local wetlands protection bylaws are generally appealable to the Superior Court pursuant to the
Certiorari Statute, G.L. c. 249, § 4, The statute provides in relevant part that:

[a] civil action in the nature of certiorari to correct errors in proceedings which are not according to the
course of the common law, which proceedings are not otherwise reviewable by motion or by appeal, may
be brought in the supreme judicial or superior court[,] [and that]... [s]uch action shall be commenced
within sixty days next after the proceeding complained of.

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Wetlands] Regulations, [a]... futile academic exercise[e],” and us result, an administrative
appeal challenging an SOC authorizing the project should be dismissed as moot in accordance
with 310 CMR 1.01(5)(a)2.'° Walsh, 2013 MA ENV LEXIS 92, at 11-12, citing, Fafard, at 7.
“{The SOC] must [also] be vacated in the final decision dismissing the appeal as moot, since the
final local wetlands bylaw denial establishes that the project [cannot] be built as conditioned and
[cannot] comply with General Condition 3 if it were built.” Id.

However, a local Conservation Commission’s right to deny a proposed project pursuant
to a local Wetlands Protection Bylaw that is more protective than the MWPA will be lost if the
Commission’s decision denying the proposed project is untimely. Oyster Creek, 449 Mass. at
862-63. As discussed above, any person seeking to perform work within a wetlands area
protected by the MWPA and the Wetlands Regulations must file an NOI with the local
Conservation Commission seeking approval of the proposed work. 310 CMR 10.02(2)(a) and
10.02(2)(b). The MWPA and the Wetlands Regulations require “the conservation commission .
[to] hold a public hearing on the proposed project within twenty-one days after receiving the
[NOI].” Oyster Creek, 449 Mass. at 862-63. “The [MWPA] further prescribes that the
conservation commission ‘shall .. . within twenty-one days of such hearing’ issue a written order
that imposes conditions on the proposed work to be done (including denial of the project), or that
determines no conditions are necessary.” Id., at 863. This 21 day time limitation is also set forth
in the Wetlands Regulations at 310 CMR 10.05(6)(a). As the SJC held in Oyster Creek, the

failure of a local Conservation Commission to abide by this 21 day deadline will have negative

'° 310 CMR 1.01(5)(a)2 provides in relevant part that “[t]he Presiding Officer may, on the Presiding Officer’s own
initiative or on a party's motion where appropriate . . . dismiss appeals for . . . raootness, . .. or where the record
discloses that the proposed project [or] activity has been denied by a local, state or federal agency or authority
pursuant to law other than that relied on by the Department in the decision appealed from, and such denial has
become final”).

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consequences on the Commission’s attempt to deny a proposed project under a local Wetlands

Protection Bylaw. Under these circumstances, the Commission’s denial under a local Bylaw

does not override the Department’s SOC approving or denying a proposed project. 449 Mass. at

866. In the SJC’s words: “where a conservation commission issues its [Order] after the [21 day]

statutory deadline, . . . [the commission] lose[s] the right to insist on the provisions of its local

bylaw, and... any superseding order issued by the [Department] . . . appl[ies] in its stead.” Id.
FINDINGS

I. THE PETITIONERS’ BURDEN OF PROOF AT THE HEARING

As I explained to the parties at the Pre-Hearing Conference that I conducted with them
several months prior to the Adjudicatory Hearing, the Petitioners had the burden of proving by a
prepondcrancc of the evidence at the Hearing that: (1) their appeal of the SOC was not barred at
the time of the appeal’s filing; and (2) their Revised Project Plan could be reviewed and
approved in this appeal pursuant to the Department’s Plan Changz Policy. 310 CMR 10.03(2),

10.05(7)(j)2.b.iv, 10,05(7)(j)2.b.v, 10.05(7)(j)3.a, 10.04, 10.05(7)(j)3.b; In the Matter of Jodi

Dupras, OADR Docket No. WET-2012-026, Recommended Final Decision (July 3, 2013), 2013
MA ENV LEXIS 40, at 10-13, adopted as Final Decision (July 12, 2013), 2013 MA ENV LEXIS

61; Vecchione, 2014 MA ENV LEXIS 76, at 10; Webster Ventures, 2015 MA ENV LEXIS 14,

at 33-34; Elite Home Builders, 22 DEPR at 205; Sunset City, 2017 MA ENV LEXIS 35, at 15-

16.

Specifically, the Petitioners were required to present “credible evidence from a competent
source in support of . . . [their claims], including any relevant expert report(s), plan(s), or
photograph(s).” 310 CMR 10.05(7)G)3.c; Dupras, 2013 MA ENV LEXIS 40, at 11; Vecchione,

supra, 2014 MA ENV LEXIS 76, at 10; Webster Ventures, 2015 MA ENV LEXIS 14, at 34;

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Elite Home Builders, 22 DEPR at 205; Sunset City, 2017 MA ENV LEXIS 35, at 16. “A

‘competent source’ is a witness who has sufficient expertise to render testimony on the technical

issues on appeal.” In the Matter of City of Pittsfield Airport Commission, OADR Docket No.

2010-041, Recommended Final Decision (August 11, 2010), 2010 MA ENV LEXIS 89, at 36-

37, adopted as Final Decision (August 19, 2010), 2010 MA ENV LEXIS 31; Dupras, 2013 MA

ENV LEXIS 40, at 11-12; Vecchione, 2014 MA ENV LEXIS 76, at 10; Webster Ventures, 2015

MA ENV LEXIS 14, at 34-35; Elite Home Builders, 22 DEPR at 205; Sunset City, supra, 2017

MA ENV LEXIS 35, at 16. Whether the witness has such expertise depends “[on] whether the

witness has sufficient education, training, experience and familiarity with the subject matter of

the testimony.” Commonwealth v. Cheromcka, 66 Mass. App. Ct. 771, 786 (2006) (internal _

quotations omitted); see e.g. Pittsfield Airport Commission, supra, 2010 MA ENV LEXIS 89, at

36-39 (petitioner’s failure to submit expert testimony in appeal challenging MassDEP
Commissioner’s issuance of 401 Water Quality Certification Variance to Pittsfield Airport
Commission fatal to petitioner’s claims because Variance was “detailed and technical . . .
requiring expert testimony on issues . .. implicated by the Variance,” including . . . (1) wetland
replication, restoration, and enhancement, (2) mitigation of environmental impacts to streams,
and (3) stormwater discharge and treatment[,] [and (4)] . . . runway safety and design”); Dupras,
2013 MA ENV LEXIS 40, at 36-37 (petitioner not qualified to interpret technical data involving

Shellfish Suitability Areas); Vecchione, 2014 MA ENV LEXIS 76, at 26 (petitioner not qualified

to testify as to impacts on wetlands resources areas due to his lack of expertise in wetlands

protection).

As for the relevancy, admissibility, and weight of evidence that the parties sought to

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introduce at the Adjudicatory Hearing, these issues were governed by G.L. c. 30A, § 11(2) and

310 CMR 1.01(8)(a). Under G.L. c. 30A, § 11(2):
[u]nless otherwise provided by any law, agencies need not observe the rules of
evidence observed by courts, but shall observe the rules of privilege recognized
by law. Evidence may be admitted and given probative effect only if it is the kind
of evidence on which reasonable persons are accustomed to rely in the conduct of
serious affairs. Agencies may exclude unduly repetitious evidence, whether
offered on direct examination or cross-examination of witnesses.

Under 310 CMR 1.01(8)(a), “[t]he weight to be attached to any evidence ... rest[ed] within the

discretion of the Presiding Officer... .”

As discussed below, the Petitioners met their burden of proving that their appeal of the

SOC was not barred at the time of the appeal’s filing as a result of not having appealed to

Superior Court the MCC’s denial of the original proposed Project under the Mashpee Wetlands

Protection By-law. See below, at pp. 17-28. However, the Petitioners failed to meet their

burden. of proving that their Revised Project Plan could be reviewed and approved in this appeal

pursuant to the Department’s Plan Change Policy. Sce below, at pp. 28-50.

I. THE PETITIONERS’ APPEAL OF THE SOC WAS NOT BARRED AT THE
TIME OF THE APPEAL’S FILING

The MWPA provides that:

[t]he conservation commission ... shall hold a public hearing on the proposed
activity within twenty-one days of the receipt of [te NOI]. . . . \f after said
hearing the conservation commission . . . determine[s] that the area on which the
proposed work is to be done is significant to public or private water supply, to the
groundwater supply, to flood control, to storm damage prevention, to prevention
of pollution, to protection of land containing shellfish, to the protection of wildlife
habitat or to the protection of fisheries or to the protection of the riverfront area
consistent with the following purposes: to protect the private or public water
supply; to protect the ground water; to provide flood control; to prevent storm
damage; to prevent pollution; to protect land containing shellfish; to protect
wildlife habitat; and to protect the fisheries, /the] conservation commission...
Shall by written order within twenty-one days of such hearing impose such

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conditions as will contribute to the protection of the interests described herein,
and all work shall be done in accordance therewith. ...

G.L. c. 131, § 40 (emphasis supplied). The MWPA also provides that:

[iff a conservation commission has failed to hold a hearing within the twenty-
one day period as required, or if a commission, after holding such a hearing has
failed within twenty-one days therefrom to issue an order, .. . the applicant, any
person aggrieved by said commission's order or failure to act, or any owner of
land abutting the land upon which the proposed work is to be done, or any ten
residents of the city or town in which said land is located, may, by certified mail
and within ten days from said commission's order or failure to act, request fan
SOC from the Department] ....

Id. (emphasis supplied).

The Wetlands Regulations at 310 CMR 10.05(a) repeat the MWPA’s requirement that

“{a] public hearing shall be held by the conservation commission [on an NOI] within 21 days of

[its] receipt of the [NOT]... .” Under 310 CMR 10.05(b), “[p]ublic hearings [on an NOT] may

be continued [only] as follows”:

1.

without the consent of the applicant to a date, announced at the hearing,
within 21days, of receipt of fan NOT];

with the consent of the applicant, to an agreed-upon date, which
shall be announced at the hearing; or

with the consent of the applicant for a period not to exceed 21 days

after the submission of a specified piece of information or the occurrence
of a specified action. The date, time and place of [the] continued hearing
shall be publicized in accordance with [the MWPA], and notice shall be
sent to any person at the hearing who so requests in writing.

The provisions of 310 CMR 10.05(6)(a) make clear that “[w]ithin 21 days of the close of [its]

public hearing [on an NOT], the conservation commission shall either’:

1.

make a determination that the area on which the work is proposed to be
done . . . is not significant to any of the [MWPA] interests [set forth
above] ...; or

make a determination that the area on which the work is proposed to be

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done... is significant to one or more of the [MWPA] interests [set forth
above], and shall issue an Order of Conditions for the protection of said
interests... .

Here, it is undisputed that the MCC issued its Order of Conditions denying the original
proposed Project on February 1 1, 2015 and that the Petitioners did not appeal to Superior Court-
the MCC’s denial under the Mashpee Wetlands Protection Bylaw. It is the Petitioners’ and the
Department’s position that the Petitioners did not have to appeal to Superior Court the MCC’s

denial under Mashpee Wetlands Protection Bylaw because the MCC issued its Order of
Conditions more than 21 days after closing its public hearing on the Petitioners’ NOT for the
original proposed Project. The MCC and the Intervenors, however, take the opposite view,
contending that the MCC issued its Order of Conditions within the required 21 day period, and,
as such, the Petitioners’ appeal of the SOC was barred at the time of the appeal’s filing because
the Petitioners did not appeal to Superior Court the MCC’s denial under Mashpee Wetlands
Protection Bylaw. Based on the MWPA and the Wetlands Regulations and a strong
preponderance of the evidence introduced at the Adjudicatory Hearing, I find that the Petitioners’
appeal of the SOC was not barred at the time of the appeal’s filing because the MCC issued its
Order of Conditions beyond the required 21 day period, and, as a result, the Petitioners were not
required to appeal to Superior Court the MCC’s local bylaw denial of the original proposed
Project.
The MCC and the Intervenors contend that the MCC closed its public hearing on the

Petitioners’ NOI for the original proposed Project on January 22, 2015, making February 12,

. 2015 as the 21 day deadline date under the MWPA and 310 CMR 10.05(6)(a) for the MCC to

issue its Order of Conditions, and that the MCC met the deadline by issuing its Order of denial

on February 11, 2015. The evidence introduced at the Hearing, however, demonstrates that the

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MCC closed its public hearing on the Petitioners’ NOI for the original proposed Project on
January 8, 2015, making January 29, 2015 as the 21 day deadline date for the MCC’s issuance of
its Order of Conditions on the NOI.

This evidence includes a transcript of the MCC’s January 8, 2015 public hearing on the
Petitioners’ NOI for the original proposed Project, which demonstrates that the MCC closed its
public hearing on the Petitioners’ NOI on that date, and not on January 22, 2015, as the MCC
and the Intervenors contend.'’ The transcript shows that the MCC closed its public hearing on
January 8, 2015 after the Petitioners’ counsel, the MCC’s members, and the MCC’s
Conservation Agent, Mr. McManus, had the following extended discussion regarding whether
the MCC should close the public hearing on that date:

MR. MCMANUS TO THE MCC: The way I see it, you have two choices
before you: [1] You can continue the issue to read into the materials which have
been gone over verbally before you tonight, or [2] you can render a decision

2

. whether you believe the project meets the [wetlands] performance standards. . . .'?

THE PETITIONERS’ COUNSEL" TO THE MCC: — There’s a third option

that Mr. McManus didn’t mention, which is that if you do feel that you have
enough information, you could close tonight, but not make a decision, because

you have twenty-one days from the day of the close of the hearing to make a

decision.'*

"A copy of the MCC’s Hearing Transcript of January 8, 2015 is attached as Exhibit 1 to the PFT of the Petitioners’
witness, Mr. Haney. The Transcript is cited above in the text as “MCC’s Jan. 8, 2015 Transcript.”

 MCC’s Jan. 8, 2015 Transcript, at p. 5, lines 18-23 (bracketed numbers supplied).

® The Petitioners’ counsel in the MCC’s Jan. 8, 2015 Transcript is designated by name “Unidentified.”
 MCC’s Jan. 8, 2015 Transcript, at p. 9, lines 7-13.

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MR. MCMANUS TO THE MCC: Yes. *

THE PETITIONERS’ COUNSEL TO THE MCC: So, a third option is to

Close {the hearing], but read everything and deliberate at your subsequent

meeting. te

MCC MEMBER TO THE PETITHONERS’ COUNSEL: What’s the

advantage to that?!”

THE MCC CHAIRMAN TO THE PETITIONERS’ COUNSEL: Yeah,

what’s the advantage of that? !8

THE PETITIONERS’ COUNSEL TO THE MCC: The advantage to that,

as J see it, is, it ends this process of back-and-forth. In other words, you wouldn’t
be sitting in this same situation two weeks from now when additional information
has been submitted by us, responded to by three other consultants, and now
you’re back in the same situation. It would cut off the discussion at this point.
But we won't want to do that rf you . . . feel that we need to provide additional

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information. We want to give you everything you need to render a decision.

THE MCC CHAIRMAN TO THE PETITIONERS’ COUNSEL: We

want to make the right decision. We’ve had some problems with decisions that

we’ve had to rectify.”°

% MCC’s Jan. 8, 2015 Transcript, at p. 9, line 14.

6 MCC's Jan. 8, 2015 Transcript, at p. 9, lines 15-17.

'7MCC’s Jan. 8, 2015 Transcript, at p. 9, lines 19-20.

'8 MCC’s Jan. 8, 2015 Transcript, at p. 9, lines 21-22.

 MCC’s Jan. 8, 2015 Transcript, at p. 9, lines 23-24; p. 10, lines 1-10.

© MCC’s Jan. 8, 2015 Transcript, at p. 10, lines 11-13.

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THE PETITIONERS’ COUNSEL TO THE MCC: Right, and we

appreciate that.7. . .

MCC MEMBER TO MCC CHAIRMAN: I feel that we’ve got the

information we need. I have no further questions, So, it does strike me that a real
good procedure for closing the—for making sure that we’re going to be deciding
next week is that we just close it. That sounds good to me. If that’s— that

process would work correctly, right? We could close tonight as he

described? 7”...
MCC CHAIRMAN TO MCC MEMBER: You want to close it off?”
MCC MEMBER TO MCC CHAIRMAN: _ Close it tonight and have a

decision ready by the next meeting.” ...

MR. MCMANUS TO THE MCC: _ [Y]ou have all the information you need,
and if I get what you’re saying, and absorb all of this for a decision at the next
meeting[.]°...

MCC CHAIRMAN TO MR. MCMANUS: ‘Well, that was supposed to be
the design, that tonight we would have all the information we needed to make a

decision and we would think about it and make a decision on J anuary 22],

2015].6...

71 MCC's Jan. 8, 2015 Transcript, at p. 10, lines 14-15.

2 MCC’s Jan. 8, 2015 Transcript, at p. 11, lines 2-9.

3 MCC’s Jan. 8, 2015 Transcript, at p. 11, lines 10-11.

4 MCC’s Jan. 8, 2015 Transcript, at p. 11, lines 12-13.

> MCC’s Jan. 8, 2015 Transcript, at p. 11, lines 19-22.

*° MCC’s Jan. 8, 2015 Transcript, at p. 11, lines 23-24; p. 12, lines 1-3.

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MR. MCMANUS TO THE MCC: —[ mean, if you want my...

recommendation, J think you should close with the statement that you have all the
information you need and there should be no information forthcoming, that you
go over all the information that you have in front of you right now to render a
decision on the [January 22, 2015].”’...

MCC CHAIRMAN TO MR. MCMANUS: You want us to close it, huh,

tonight? 78

MR. MCMANUS TO THE MCC: _ I think that you should—if, you know, if

you want to go with my suggestion that you vote to close the hearing and...
issue a decision on [January 22, 2015], that would be my suggestion.”

MCC CHAIRMAN TO MCC MEMBERS: How do you feel about .

that???
MCC MEMBER No. 1: That seems reasonable.*!
MCC MEMBER No.2: __L agree.”

MCC CHAIRMAN TO MR. MCMANUS: I guess you’ve got—

everybody agrees with you... .

THE PETITIONERS’ COUNSEL TO THE MCC: [JJust by a point of

27 MCC’s Jan. 8, 2015 Transcript, at p. 12, lines 3-12.

8 MICC’s Jan. 8, 2015 Transcript, at p. 19, lines 3-4.

° MCC’s Jan. 8, 2015 Transcript, at p. 19, lines 5-9.

3° MCC’s Jan. 8, 2015 Transcript, at p. 19, line 10.

3) MCC’s Jan. 8, 2015 Transcript, at p. 19, lines 11-12.

2 MCC’s Jan. 8, 2015 Transcript, at p. 19, line 13.

3 MCC’s Jan. 8, 2015 Transcript, at p. 19, lines 14-16.

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order to make sure—if I understand what the board is going to do is close the

hearing-- . . . and then deliberate at your subsequent hearing.**
MCC CHAIRMAN TO MR. MCMANUS: Yeah, and we’ll come back
on [January 22, 2015].*°. . .

THE PETITIONERS’ COUNSEL TO THE MCC: [W]hat the law

provides is that the evidentiary phase of the hearing closes and then you have

twenty-one days within which to issue your decision.”

MCC MEMBER TO MR. MCMANUS: Right, right. *”

THE PETITIONERS’ COUNSEL TO THE MCC: And I think that it

would be important for all the parties here to understand clearly that if the hearing
is closed, then there’s no other submissions by anybody. 8
MCC MEMBER TO MR. MCMANUS: Yes.”’...

MR, MCMANUS TO THE MCC: If the hearing is closed, then it’s closed,

and that’s it.”°. . .
MCC CHAIRMAN TO MCC MEMBERS: Someone want to make a

motion?!

** MCC’s Jan. 8, 2015 Transcript, at p. 19, lines 19-22, line 24; p. 20, line 1.
> MCC’s Jan. 8, 2015 Transcript, at p. 20, lines 2-3.

°° MCC’s Jan. 8, 2015 Transcript, at p, 20, lines 5-8.

7 MCC’s Jan. 8, 2015 Transcript, at p. 20, line 9.

8 MICC’s Jan. 8, 2015 Transcript, at p. 20, lines 10-13.

” MCC’s Jan. 8, 2015 Transcript, at p. 20, line 14.

“© MCC’s Jan. 8, 2015 Transcript, at p. 21, lines 9-10.

“' MCC’s Jan. 8, 2015 Transcript, at p. 21, lines 19-20.

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wn epee
MCC MEMBERNo.1: Iso move.”

MCC MEMBER No. 2: That’s the easy way to do it. I second.”

MCC CHAIRMAN TO MCC MEMBERS: Yeah. All in favor, say yes.“

(AFFIRMATIVE RESPONSES BY MCC MEMBERS) “°

MCC CHAIRMAN TO MCC MEMBERS: Yes, yes. Okay. Thank you,

guys.
THE PETITIONERS’ COUNSEL TO THE MCC: Thank you very
much.*’...

The agenda, transcript, and minutes of the MCC’s January 22, 2015 meeting at which it
voted to deny the proposed Project provide further proof that the MCC closed its public hearing
on the Petitioners’ NOI on January 8, 2015 and not on January 22, 2015."8

The agenda of the MCC’s January 22nd meeting states that the MCC’s “Hearing [on the
proposed Project] closed on 1/8/2015 with a final determination to be rendered [by the MCC on]
1/22/2015."*? This is confirmed by the transcript of the MCC’s January 22" meeting at which

the MCC’s Chairman stated that “[t]he [MCC’s] hearing [on the original proposed Project]

? MCC’s Jan. 8, 2015 Transcript, at p. 21, line 21.

“8 MCC’s Jan. 8, 2015 Transcript, at p. 21, lines 22-23.

“MCC's Jan. 8, 2015 Transcript, at p. 21, line 24; p, 22, line 1,

“* MCC’s Jan. 8, 2015 Transcript, at p. 22, line 2.

*° MCC’s Jan. 8, 2015 Transcript, at p. 22, lines 3-4.

“’MCC’s Jan. 8, 2015 Transcript, at p. 22, line 5.

** A copy of the MCC’s Agenda for the MCC’s January 22, 2015 meeting is attached as Exhibit 5 to Mr. Haney’s
PFT; a copy the Transcript of MCC’s January 22, 2015 meeting (“MCC’s Jan. 22, 2015 Transcript”) is attached as
Exhibit 2 to Mr. Haney’s PFT; and the minutes of the meeting are attached to his PFT as Exhibit 6.

* Exhibit 5 to Mr. Haney’s PFT,

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closed on January 8", with a final determination [by the MCC] on this application to be decided
[at the MCC’s January 22™4 meeting],” and as such, “there [would] be no submissions [on the
Project] by the audience [at the January 22" meeting].”*” These comments of the MCC’s
Chairman are further confirmed by the minutes of the MCC’s January 22™4 meeting. The |
minutes note that the MCC’s Chairman stated at the January 2274 meeting that the MCC’s
Conservation Agent, Mr. McManus “[ would] be providing his comments [on the original
proposed Project] and the [MCC members] [would then] give their comments and then . . . [take]
a vote” on approving or denying the Project.?! The minutes also note that “(flollowing his
review [of the original proposed Project at the January 224 meeting], the [MCC’s] Agent [(Mr.
McManus)] recommended [that the MCC] den[y] the [Project] .. . without prejudice” and that
the MCC accepted his recommendation by voting unanimously to deny the Project without
ptejudice.°* The MCC, however, did not issue its written Order of Conditions pursuant to the
MWPA and 310 CMR 10.05(6)(a) denying the proposed Project until February 11, 2015, 34
days after the MCC closed its public hearing on the Petitioners’ NOI for the Project on January
8, 2015 and 13 days after expiration of the January 29, 2015 deadline for the MCC to issue its
written Order of Conditions denying the Project.

Notwithstanding the highly persuasive evidence discussed above demonstrating that the
MCC’s Order of Conditions denying the original proposed Project was untimely under the
MWPA and 310 CMR 10.05(6){a), the MCC and the Intervenors contended at the Adjudicatory

Hearing that the Order was timely because in their view the required public hearing that a local

°° MCC Jan. 22, 2015 Transcript, a p. 2, lines 12-16.

5! Exhibit 6 to Mr. Haney’s PFT (p. 3).

2 Id.

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Conservation Commission is to conduct on an NOI is a bifurcated proceeding consisting of an
“evidentiary phase” and a “deliberative phase,” and, as such, the 21 day deadline for the
Commission to issue its Order of Conditions begins to run after the “deliberative phase.” Hence,
under their reading of the MWPA and 310 CMR 10.05(6)(a), the MCC’s February 11, 2015
Order of Conditions was timely because the 21 day period did not begin to run on January 8,
2015, when the MCC closed the “evidentiary phase” of its public hearing on the Petitioners’ NOI
for the original proposed Project, but rather on January 22, 2015, when the MCC voted to deny
the Project. MCC’s Pre-Hearing Memorandum, at p. 10. The problem with the MCC’s and the
Intervenors’ position is that neither the MWPA nor the Wetlands Regulations contain any
provisions stating that the local Conservation Commission’s public hearing on an NOI is a
bifurcated proceeding consisting of an “evidentiary phasc” and a “deliberative phase,” and that
the 21 day deadline for the Commission to issue its Order of Conditions begins to run after the
“deliberative phase.” As the SJC ruled in Oyster Creek, “the timing provisions in the [MWPA]
are obligatory, and a local community is not free to expand or ignore them.” Accordingly, the
MCC’s reliance Kurlander v. School Committee of Williamstown, 16 Mass. App. Ct. 350 .
(1983), a case involving a different statutory scheme governing the termination of public school
teachers is unavailing.

Moreover, the evidence introduced at the Adjudicatory Hearing as set forth above at
pp. 19-26 does not support the MCC’s and the Intervenors’ contention that on January 8, 2015
the Petitioners’ consented to an extension of the MCC’s 21 day deadline to issue its Order of
Conditions on the Petitioners’ NOI for the proposed Project. Indeed, on cross-examination by
the Petitioners’ counsel at the Hearing, the MCC’s Conservation Agent, Mr. McManus, admitted

that at the MCC’s January 8, 2015 public hearing on the Petitioners’ NOI, the Petitioners neither

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requested a continuance of the public hearing nor consented to a continuance of the public
hearimg in accordance with 310 CMR 10.05(b) as discussed above, at p. 18. Adjudicatory
Hearing Transcript (“AHT”), at p. 227, lines 12-18; p. 228, lines 5-12. Mr. McManus’
admission is highly probative evidence demonstrating that the MCC’s public hearing on the
Petitioners’ NOI closed on January 8, 2015, making January 29, 2015 the 21 day deadline under
the MWPA and 310 CMR 10.05(6)(a) for the MCC to issue an Order of Conditions on the
Petitioners’ original proposed Project. While it is undisputed that the MCC met on January 22,
2015 and voted to deny the Petitioners’ original proposed Project, the MCC did not issue its
Order of Conditions confirming its denial until February 11, 2015, which was after the January
29, 2015 deadline.

In sum, the Petitioners’ appeal of the SOC was not barred at the time of the appeal’s
filing, and, as such, the case may proceed to the next issue for resolution: whether the
Petitioners’ Revised Project Plan can be reviewed and approved in this appeal pursuant to the
Department’s Plan Change Policy.

Til. THE PETITIONERS’ REVISED PROJECT PLAN CANNOT BE REVIEWED

AND APPROVED IN THIS APPEAL PURSUANT TO THE DEPARTMENT'S

PLAN CHANGE POLICY BECAUSE THE PETITIONERS’ PROPOSED STEEL

' BRIDGE ALTERNATIVE IS SUBSTANTIALLY DIFFERENT FROM THEIR

ORIGINALLY PROPOSED TIMBER BRIDGE AND INCREASES IMPACTS TO

SALT MARSH AND LAND CONTAINING SHELLFISH.

A. The Requirements of the Department’s Plan Change Policy

The Department’s Plan Change Policy provides that:

[t]he primary purpose of th[e] policy is to promote the intent of the [MWPA], to
ensure thorough local review of work proposed.in or near wetland resource areas
by identifying those circumstances in which the Department will consider changes
to plans filed under [NOIs] which are before the Department under appeal for [an
SOC] or for which [an administrative appeal] has been filed. . . .

Department’s Plan Change Policy, 41. “This policy specifically distinguishes those plan

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changes which are substantial, and will require a new NOI filing ‘with the local Conservation
Commission], from those plan changes which are deemed insubstantial and thus may be
considered as part of the appeal review process.” Id. The Policy specifically precludes “[t]he
Department [from] . . . considering plan changes, ... which are deemed to be substantially
different from the plan acted upon by the [local] Conservation Commission and which are
referenced in the Order of Conditions. Substantial plan changes are deemed to be those changes
[1] which significantly modify the project configuration and [2] which result in increased
impacts to wetland resource areas. ...” Id., 5 (numerical references supplied).

Under the Policy “[t]he Department may consider plans which contain insubstantial
changes from the plans acted upon by the Conservation Commission and referenced in the Order
of Conditions. Insubstantial plan changes are limited to those changes which involve unchanged
or decreased impacts but which do not constitute significant changes from the project
configuration acted upon by the Conservation Commission... .” Id., 46. “[T]he burden is on
the project proponent to demonstrate that the plan change is insubstantial. Specifically, the
project proponent must show that the plan change results in [1] an unchanged, or not
significantly changed, project configuration and [2] unchanged or decreased impact to any
wetland resource areas as compared to the plan acted upon by the Conservation Commission and
referenced in the Order of Conditions.” Id., § 7 (numerical references supplied).

As discussed below at pp. 30-50, the Petitioners failed to meet their burden under the
Department’s Plan Change Policy of demonstrating that their proposed steel bridge alternative:
(1) is not substantially different from their originally proposed timber bridge and (2) will not
increase impacts to any wetlands resources. A preponderance of the evidence at the

Adjudicatory Hearing demonstrated that the steel bridge is substantially different than the timber

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bridge and increases wetlands impacts to Salt Marsh and Land Containing Shellfish.
Accordingly, the Petitioners’ Revised Project Plan cannot be reviewed and approved in this
appeal, but must be submitted to the MCC for review pursuant to a new NOI.

B. The Petitioners’ Proposed Steel Bridge Alternative Is Substantially Different
From Their Originally Proposed Timber Bridge.

1. Mr. Bunker’s Testimony on behalf of the Petitioners

At the Hearing, the Petitioners’ witness, Mr. Bunker, testified that construction of
Petitioners’ proposed steel bridge would not be substantially different from construction of the
Petitioners’ originally proposed timber bridge. His testimony was based on his experience as a
licensed Professional Land Surveyor. Mr. Bunker’s PFT, € 1. He holds a Bachelor of Science
degree in Forestry Engineering from the University of Maine at Orono (1977) and a Master of
Landscape Architecture degree from the Harvard University Graduate School of Design (1987).
Id., ]3. He has provided project design and review services for a number of residential and
commercial projects and has more than 25 years of experience in permitting projects near
wetlands areas. Id., J§ 4-5.

Mr. Bunker testified that the Petitioners’ steel bridge alternative will be a pre-fabricated
steel truss design consisting of three spans: (1) the Mashpee Mainland span; (2) the middle span;
and (3) the Gooseberry Island span having the following configurations. Id., | 24.

C1) The Mashpee Mainland span. This span will be 50 feet and supported
by a concrete abutment at the end of Punkhorn Point Road and the first
pile bent, which will be in the intertidal zore between the Mashpee

Mainland Salt Marsh and the low water line. Id. The height of this span
will vary from 3.0 feet to 6.0 feet above the Salt Marsh (5.2 feet to 8.2

® As aresult of my ruling that the Petitioners’ Revised Project Plan cannot be reviewed and approved in this appeal,
the MCC’s and the Intervenors’ pending “Joint Motion to Strike Section 3 of [the] Petitioners’ Post-Hearing
Memorandum” because it purportedly “seeks to introduce, for the first time [and after the close of the Adjudicatory
Hearing], an entirely new mitigation proposal [for the Petitioners’ steel bridge alternative],” is denied as moot.

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feet clear from the Salt Marsh to the bottom of the grating) and no ° piles
will be in the Salt Marsh. Id.

(2) The Middle span. This span will be 60 feet and supported by the two
pile bents. Id. This span is entirely above the intertidal zone and open
water, none is over Salt Marsh. Id.

(3) The Gooseberry Island span. This span will be 90 feet and similar to the
Mashpee Mainland span that will be supported by a pile bent in the
intertidal zone and a concrete abutment on upland, and will span over
Salt Marsh. Id. The height of this span will vary from 3.8 feet to 8.4
feet above the Salt Marsh (6.0 feet to 10.6 feet clear from the Salt Marsh
to the bottom of the grating) and no piles will be in the Salt Marsh. Id.
Mr. Bunker testified that the steel bridge will have railings along its two sides that will
be steel trusses providing the longitudinal strength to support the bridge across its three spans.
Id. Every ten feet of the structure will have a cross beam connecting the structure’s two
trusses and carrying longitudinal beams which, in turn, will support the steel grating driving
surface. Id. The driving surface will be composed of two strips of 3.5 feet wide, 2 inches high
steel grating with a manufacturer-claimed 82% light penetration, separated by 2.0 feet wide
open space. Id. There will be 2 feet, 2 inches from the bottom of the truss structure to the
bottom of the steel grating. Id. It will be supported on the landward ends by concrete
abutments. Id. The spanning sections will be supported by two bents of nine 14 inch piles
each, located in the inter-tidal zone. Id.
Mr. Bunker testified that “[t]he construction methodology for [this] alternative steel
bridge will be substantially the same as that of the [originally proposed] timber pile supported
structure....” Id., 25. He testified that with the exception of the change of the bridge’s

design from timber to steel, it is substantially the same size, length, and width of the original

timber structure and in substantially the same location. Id., 27. However, on cross-

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examination at the Adjudicatory Hearing, Mr. Bunker admitted that the steel bridge will be
50% wider. AHT, p. 56, lines 10-24; p. 57, lines 1-24; p. 58, lines 1-24; p. 59, lines 1-5.

2. Mr. Bartow’s Testimony on behalf of the Department

Mr. Bartow is an Environmental Analyst in the Wetlands and Waterways Program in the
Department’s Southeast Regional Office with nearly 30 years of experience in the environmental
field, 11 of which are in the wetlands permitting area: two years in the private sector and nine
years (since 2008) with the Department. Pre-filed Testimony of Mark Bartow (“Mr. Bartow’s
PFT”), 1; Exhibit 1 to Mr. Bartow’s PFT. He holds a Bachelor of Science degree in
Environmental Science (1990) and a Master of Science degree in Plant and Soil Sciences (2000)
from the University of Massachusetts at Amherst. Exhibit 1 to Mr. Bartow’s PFT. His duties at
the Department include reviewing NOIs pursuant to the MWPA and the Wetlands Regulations,
conducting site inspections, preparing SOCs and enforcement documents, investigating
complaints, providing technical compliance assistance, and testifying on behalf of the
Department at Adjudicatory Hearings. Mr. Bartow’s PFT, { 1.

At the Adjudicatory Hearing Mr. Bartow agreed with Mr. Bunker’s testimony that the
Petitioners’ steel bridge alternative will not be substantially different from the Petitioners’
originally proposed timber bridge. He testified that “[t]he plan change as proposed by the
petitioner[s].. . is substantially the same” as the Petitioners’ originally proposed timber
bridge. Mr. Bartow’s PFT, ¥ 22. Mr. Bartow, however, did not provide a detailed explanation
for his opinion.

3. Mr. Daylor’s Testimony on Behalf of the Intervenor
Wolpe, Atkins, and Weltman Group

I do not find persuasive Mr. Bunker’s and Mr. Bartow’s testimony that construction of

the Petitioners’ proposed steel bridge will not be substantially different from the Petitioners’

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originally proposed timber bridge because, while their professional credentials are noteworthy,
neither Mr. Bunker nor Mr. Bartow is a civil or construction engizeer.* As a result, their
testimony regarding the structural and engineering details of the proposed steel bridge did not
carry as much weight as the testimony of Mr. Daylor, a Professional Engineer with substantial
civil and construction engineering experience, especially in the environmental field, who
testified on behalf of the Intervenor Wolpe, Atkins, and Weltman Group. Mr. Daylor’s
testimony effectively refuted Mr. Bunker’s and Mr. Bartow’s testimony by demonstrating that
the Petitioners’ steel bridge alternative is substantially different from their originally proposed
timber bridge.

Mr. Daylor is a Professional Engineer with over 50 years of experience in environmental
and land development planning, design, and construction, including work on hundreds of
projects involving the protection of wetlands and coastal resources. Pre-filed Direct Testimony
of Robert F. Daylor, PE, PLS (“Mr. Daylor’s PFT”), { 1-4.°° As a Massachusetts Professional —
Engineer, Mr. Daylor is licensed by the Commonwealth's Board of Registration of Professional
Engineers and Professional Land Surveyors (“the Board”) and, as such, his expert testimony at
the Adjudicatory Hearing comparing the engineering design and construction impacts of the
Petitioners’ proposed steel bridge alternative to the Petitioners’ originally proposed timber bridge
is subject to the Board’s vigorous licensing and engineering practice requirements and carried
great weight at the Hearing. http://www.mass.gov/ocabr/licensee/dp|-boards/en/about-the-

board. html; Sunset City, supra, 2017 MA ENV LEXIS 35, at 29. He has been qualified as an

* AHT, p. 41, lines 10-14; p. 247, lines 12-24; p. 248, lines 1-16; p. 256, lines 4-12,

° Yn addition to being a Professional Engineer, Mr. Daylor is also a Professional Land Surveyor. Mr. Daylor’s
PFT, (1-2. He hoids a Bachelor of Science in Civil Engineering degree and a Master of Science in Civil
Engineering degree with an environmental engineering focus, from Northeastern University in Boston, and studied
at Harvard University’s Graduate School of Design as a post graduate Loeb Fellow in Advanced Environmental
Studies. Id.

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expert witness in land development issues, hydrology, drainage design, stormwater management,
and wetlands protection and mitigation issues in Massachusetts Superior Court, Massachusetts
Land Court, the United States District Court for the District of Massachusetts, and the
Massachusetts Appellate Tax Board. Mr. Daylor’s PFT, | 6. He has testified in many
Adjudicatoty Hearings involving Wetlands and Tidelands (c. 91) permit appeals, and has
testified on behalf of project proponents or opponents in court litigation or administrative
appeals, including on behalf of public sector clients such as the Commonwealth. Id.

Here, Mr. Daylor testified that “[t]he [Petitioners’] revised proposal . . . to use a pre-
fabricated steel truss bridge with spans of 50 feet, 60 feet and 90 feet and intermediate piers
located in the beach resource area of the intertidal zone of the arm of the Popponesset Bay
separating Punkhorn Point [from] Gooseberry Island . . . will cause increased [wetlands] resource
damage both during construction and as a result of the finished bridge itself. Id., 12. He .
testified that “one example of the increased, adverse impacts from the completed, new bridge, [is
that] both the revised Punkhorn Point abutment and the approach to it have been enlarged, with
resultantly greater negative impacts on protected [wetlands] resource areas,” Id, He testified
that “Sheet two of the truss bridge is significantly heavier than the [original] timber bridge
proposal[,] .. . with significantly longer spans the loads transferred to the end abutments (and
intermediate piers) are significantly larger than the 14 foot timber spans,” and, accordingly, “the
concrete abutment and concrete approach wing walls are significantly larger.” Id.

Mr. Daylor refuted Mr. Bunker’s testimony that “[t]he construction methodology
[for the steel bridge] will be substantially the same as that of the [original] timber pile supported
structure....” Id., 13. He testified that “[w]hile there are several manufacturers of

prefabricated steel truss bridges which can be assembled and erected at the site, that construction

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methodology [for such a bridge] is ‘not substantially the same’ as timber short-span
construction.” Id. He based his opinion on US Army Field Manual FM 5-277, which he testified
“4s the commonly used manual for the construction of the type of [steel] bridge [that the
Petitioners are] now proposing.” Id. Based on this Manual, Mr. Daylor testified that “[w]hile it
is theoretically possible to assemble and construct the bridge from one end using a cantilever
launching technique, manpower and light construction equipment, nothing in the [project] site
allows such a technique for [a number of] reasons.” Id.

First, according to Mr. Daylor, “[a] single truss bay (a ten foot long section) without the
deck weigh[s] 5,520 [pounds] and requires a launching nose bay which weigh{s] 2,000
[pounds].” Id., 413.1. He testified that “[t]he decking and diagonal bracing adds another 3,600
[pounds] per panel,” and “[a] single, completed 10 foot long bay weights over 4.5 tons which is
significantly heavier that the 14 foot timber span.” 14.6

Second, Mr. Daylor testified that US Army Field Manual FM 5-277 “recommends [that]
the approach ‘should be two lanes and straight for 150 feet’” and that the Petitioners’ proposed
construction of the steel bridge fails to meet this standard because “Punkhorn Point Road is only
two rods wide (33 feet) and consists of a single 10-12 foot wide track,” and as a result, “[t}here is

simply no room .. . to get a straight run to assemble and cantilever launch the bridge.” Id.,

** In his rebuttal testimony, Mr, Bunker contended that Mr. Daylor had overestimated the weight of the various
structural components of the proposed steel bridge by approximately 50% based on Mr. Bunker’s purported review
of the manufacturer specifications for the steel bridge that the Petitioners propcse to build. Rebuttal Testimony of
Thomas J. Bunker, PLS (“Mr. Bunker’s Rebuttal PFT”), 2. Mr. Bunker, however, did not refute Mr. Daylor’s
testimony that the stcel] bridge will be “significantly heavier” than the originally proposed timber bridge. On cross-
examination at the Adjudicatory Hearing, Mr. Bunker admitted that he did not perform any analysis of the weight
differential between the originally proposed timber bridge and the proposed steel bridge altemative. AHT, p. 58,
lines 20-24. T also credit and accord Mr. Daylor’s testimony more weight than Mr. Bunker’s testimony because as
noted above in the text, Mr. Bunker is not a civil or construction engineer while Mr. Daylor is a Professional
Engineer with over 50 years of experience in environmental and land development planning, design, and
construction, including work on hundreds of projects involving the protection of wetlands and coastal resources.
Mr. Daylor’s PFT, { 4.

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4 13.2.77
Third, Mr. Daylor testified that US Army Field Manual FM 5-277 provides that “[i]f the
bridging is to be unloaded and stacked at the site - the site must be about 150 feet wide.” Id.,
{| 13.3. He testified that “[t]here is no place on Punkhorn Point which could be made 150 feet
wide without clearing on private property for over [100] feet and quite possibly encroaching
upon protected wildlife habitat in an adjacent isolated wetland.” Id. He stated that the 150 feet
width is necessary because US Army Field Manual FM 5-277 provides that the steel bridge must
be constructed as follows:
[EJach bridge bay (10 foot long section) has to be assembled and connected to the
adjacent bay. Then the first bay is set on rollers or. the new abutment and rolled
out in a “launching nose frame.” Then the third bay is connected to the second,
etc, and the bridge is slowly pushed out towards the first pier[,] but there always
has to be a cantilevered section of the assembled bridge which is on the landward
side of the rollers which counterbalances the elevated portion of the bridge. The

space for the counterbalance has to be level with the bridge, and aligned straight
with the bridge.

Id., { 13.4. Mr. Daylor testified that with respect to the Petitioners’ proposed steel bridge “[t]he
bare assembly (the three forward bays in the launch nose have no decks to save weight) for a 50
foot span requires a straight assembled bridge of a length of 80 feet (30 feet counterweighted
over the land) and weighs 17.5 tons.” Id. He testified that “[t]here is no place on the project site

which allows this alignment,” and that “the [Petitioners’} proposed [steel] bridge has a 10%

*” At the Hearing, Mr. Bunker did not dispute Mr. Daylor’s testimony that US Army Field Manual FM 5-277
“recommends [that] the approach ‘should be two lanes and straight for 150 feec,’” but attempted to undercut or
minimize the value of this important engineering standard by contending that the standard “is presumably the
optimal condition under which [the steel bridge] can be constructed, but by no means a requirement.” Mr. Bunker’s
Rebuttal PFT, 73. Mr. Bunker also contended that there is enough room at the project site to construct the steel
bridge because in his opinion the bridge can be built in 10 foot long bays, which would be added to the total
assembly one at a time from the mainland side as the structure is pushed (or pulled) toward Gooseberry Island, and
that by using this construction methodology, only 12 to 15 feet of work area will be necessary to construct the
bridge. Id. However, Mr. Bunker did not explain how this construction work could be done without the barge
delivering the bridge sections touching the bottom of the shellfish habitat that is part of the Intervenor Mashpee
Wampanoag Tribe’s shellfish grant. Mr. Bunker’s testimony on these engineering aspects of the proposed steel
bridge is also not persuasive given that he is not a civil or construction engineer while Mr. Daylor is such an
engineer and I credit his testimony over Mr. Bunker’s testimony for the reasons set forth above in the text.

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grade which may be impossible to launch using this accepted technique because the
counterweight section has to be level with the elevated bridge.” Jd.

Mr. Daylor testified that “[s]ince, in [his] professional opinion, the [project] site cannot
accommodate an assembly and launch from Punkhorn Point as Mr. Bunker testifie[d], the only
alternative is to assemble the [steel bridge] spans elsewhere, barge them to the site and then erect
them at the site by a large barge-mounted crane.” Mr. Daylor’s PFT, ¥ 14. He testified that
alternative construction would “rais[e] a significant risk to land containing shellfish resources
from the heavy barge grounding out in the shallow creek” because “[t]he three assembled bridge
spans [would] weigh 45,600 [pounds] (22.8 tons), 54,720 [pounds] (27.4 tons), and 82,080
[pounds] (41tons) respectively,” and “would most likely require both a heavy crane barge and a
second barge carrying the asscmbled bridge sections.” Id. He testified that the Petitioners
presented “no evidence . . . that these barges could even fit in the creek” and no evidence “of the
impacts of such an approach on coastal resources.” Id. He testified that the Petitioners’ evidence
“is completely silent on construction impacts except to [contend that the steel bridge] would be
constructed just like the timber bridge,” which in “{his] opinion . . . is an impossibility.” Id.,
415.

Cc. The Petitioners’ Proposed Steel Bridge Alternative Will Increase
Wetlands Impacts to Salt Marsh and Land Containing Shellfish.

1, Mr, Bunker’s and Mr. Forns’ Testimony on behalf of the Petitioners

a. Mr. Bunker’s Testimony

Mr. Bunker testified that as a result of the Department’s denial of the original proposed
Project for failing to meet the Performance Standards for work in Salt Marsh as set forth in 310
CMR 10.32, the Petitioners addressed the Department’s concerns oy changing the bridge’s

design from a timber bridge to a structure built entirely of steel. Mr. Bunker’s PFT, 9 23. He

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testified that the new design addressed the Department’s concerns because “[a] steel structure
[bridge] allows for a greater span between supports and thereby enables the Petitioners to
propose a design with no piles in the Salt Marsh,” and “[iJn addition, the steel structure presents
less of a profile and thereby allows greater light penetration” to the Salt Marsh, Id. The
Petitioners’ other expert witness, Mr. Forns, agreed with Mr. Bunker’s testimony.

b. Mr. Forns’ Testimony

Mr. Forns is a Senior Environmental Scientist and principal of Applied Marine

“

Ecological Lab (“AMEI.”), an environmental consulting firm based in Falmouth, Massachusetts.

Pre-filed Direct Testimony of Joseph M. Forns (“Mr. Forns’”) PFT, { 1. He holds a Bachelor of

Science degree from Villanova University in Villanova, Pennsylvania (1966). Exhibit Ato Mr.
Torns’ PFT. For nearly 40 years.(since 1978), he has provided consulting and support services to
various entities, including government agencies, industry, and private organizations on projects
involving marine pollution and ecological issues. Id., 1. He has extensive experience in
wetlands and marine resource assessments, multivariate ecological investigations, aquaculture
projects, oil and hazardous materials analyses, geotechnical groundwater contamination
evaluations, and coastal marine process design engineering. Id., 2.

Mr. Forns testified that he is knowledgeable of the environmental conditions at the
Property as a result of having reviewed the Petitioners’ NOI for the original proposed Project,
Original Project Plan, and Revised Project Plan, and conducting an environmental assessment of
the site with particular emphasis on the Salt Marsh habitats that the Department identified in its
SOC denying the original proposed Project. Id., PFT, 93. He testified that the Revised Project

Plan directly addresses the impacts to Salt Marsh and potential shading impacts to Salt Marsh

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habitat that the Department identified in its SOC denying the original proposed Project based on
the timber bridge design. Id., 4.

Mr. Forns testified that “[a]ny realistic evaluation of potential adverse impacts [to Salt
Marsh] due to diminished sunlight . . . needs to incorporate the overall health of the [Salt Marsh]
system as a whole, as well as any incidental shading.” Id., § 15. He opined that “[g]iven the
open spaced deck surface, separation of steel grated decking, and the elevation of the decking
above the marsh surface, it is unlikely there will be any measuratle destruction of salt marsh
habitat or adverse impact to the underlying marsh surfaces or overall salt marsh system (1.5 acres
on the island and 100+/- acres on the mainland).” Id. However, while contending that the
decking on the steel bridge alternative will allow for greater light penetration to the Salt Marsh
than the originally proposed timber bridge, Mr. 'orns admitted on cross-examination at the
Adjudicatory Hearing that the “bridge decking [for the steel bridge] doesn’t differ” from the
decking for the timber bridge. AHT, p. 102, lines 15-23.

Mr. Forns testified that “[the] [mlJitigation proposed [by the Petitioners] for any potential
impacts resulting from this project on all associated resource areas will enhance the vitality of
this salt marsh system,” and that the “[t]ransplanting and relocation of salt marsh plants to
identified disturbed areas as identified in the [Petitioners’ mitigation plan] will result in no net
losses to the existing indigenous salt marsh habitat and will actualiy increase the overall area of
viable and productive salt marsh habitat.” Id., | 17. He testified that the Petitioners’ steel bridge
alternative will not destroy any Salt Marsh as the Department had previously concluded
regarding the originally proposed timber bridge because “the [steel] structure [alternative] allows
for the spanning of the Salt Marsh and eliminates all piles from the Salt marsh.” Id., § 19.

However, on cross-examination at the Adjudicatory Hearing, he admitted that the proposed steel

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bridge will span over Land Containing Shellfish and the Intervenor Mashpee Wampanoag
Tribe’s shellfish grant area, AH'I, p. 113, lines 8-10.

Mr. Forns attempted to minimize the steel bridge’s impacts to Land Containing Shellfish
by testifying that “this portion of Popponesset Bay is closed to shellfishing” and that “[he] found
no measurable quantities of shellfish [exist] within the project site.” Mr. Forns’ PFT, { 8. As
discussed below, Mr. Forns’ testimony was effectively refuted by Mr. Daylor’s and Ms. Ball’s

testimony.

2. Mr. Bartow’s Testimony on behalf of the Department

Mr. Bartow agreed with Mr. Bunker’s and Mr. Forns’ testimony that the Petitioners’
proposed steel bridge alternative will decrease impacts to protected wetlands areas at the Project
site. Specifically, he testified that the Petitioners’ Revised Project Plan meets the Performance
Standards for work in Salt Marsh at 310 CMR 10.32 because the Plan’s proposed steel bridge:
“(a).. . eliminates pilings in [SJalt Marsh and (b) is an open grate design which minimizes
shading.” Mr. Bartow’s PFT, { 21. He testified that “[t]he open grate design reportedly will
allow greater than 50% light penetration to the salt marsh vegetation below [the structure],” and
“that the revised design would not result in any adverse effects to the salt marsh.” Id.

Mr. Bartow also testified that construction of the Petitioners’ steel bridge would also
satisfy the Wetlands Regulations’ Performance Standards for two other protected wetlands areas:
Land Containing Shellfish and Coastal Beach/Tidal Flat. Id., {| 23-24. With respect to Land
Containing Shellfish, he testified that the Petitioners’ steel bridge alternative “would meet the
performance standards for [work in] Land Containing Shellfish [because] the petitioner[s]
propos[e] to remove and relocate any individual shellfish in the area of the proposed piles and

because [this protected wetlands area] would be returned substantially to its former productivity

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in less than one year from commencement [of work] in accordance with 310 CMR 10.34(5).”
Id., PFT, 7 23.°8 With respect to Coastal Beach/Tidal flat, he testified that that the Petitioners’
steel bridge alternative “would meet the performance standards for [this protected wetlands area
as set forth] at 310 CMR 10.27(3) and 10.27(6)” because “the [bridge’s] pilings located in [that
area as| shown on the Revised Plan... would not have an adverse effect on [that]... area...
based on [his} observations . . . at the time of [his] site inspection and [his] experience.” Id.,
424. He testified that “[he] believe[s] the area is a low energy environment,” that “[he] [neither]
observe[d] any evidence of erosion, scour, or sedimentation,” nor “observe[d] any strong current
or tidal action tn the vicinity of the project.” Id. He testified “that any affects created by the
[bridge’s] pilings would be negligible and small enough to be disregarded as defined at 310
CMR 10.23 under Adverse Effect.” Id.

Lastly, Mr. Bartow opined that that the Petitioners’ proposed steel bridge alternative will
not adversely affect Salt Marsh, Land Containing Shellfish, and Coastal Beach/Tidal Flat based
on his August 27, 2015 “observ[ation] [of] a steel grate bridge in Barnstable[, Massachusetts] of
a design similar to that [of the Petitioners’] proposed [steel bridge as depicted] in the
[Petitioners’] Revised [Project] Plan.” Id., 25. He testified that “[t]he bridge crosses an
intermittent stream and Bordering Vegetated Wetland[s] surrounded by mature trees,” and that
“[bJased on [his] observations, [he] believe[s] that the bridge is not adversely impacting the
[protected wetlands] resource areas that it spanned.” Id.

3. Mr. Daylor’s Testimony on Behalf of the Intervenor
Wolpe, Atkins, and Weltman Group and
Ms. Ball’s Testimony on Behalf of the
Intervenor Mashpee Wampanoag Tribe Group

** Mr. Bartow testified as such even though, as Ms, Ball noted in her testimony, the Intervenor Mashpee
Wampanoag Tribe has an exclusive shellfish grant in the area.

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I do not find persuasive Mr. Bunker’s, Mr. Forns’, and Mr. Bartow’s testimony that the
Petitioners’ proposed stecl bridge alternative will decrease impacts to wetlands areas at the
Project site because their testimony was effectively refuted by Mr. Daylor’s testimony on behalf
of the Intervenor Wolpe, Atkins, and Weltman Group and Ms, Ball’s testimony on behalf of the
Intervenor Mashpee Wampanoag Tribe Group. Mr. Daylor’s anc Ms. Ball’s testimony
demonstrated that construction of the steel bridge will increase impacts to Salt Marsh and Land
Containing Shellfish.

a. Mr. Daylor’s Testimony

As noted previously, Mr. Daylor testified that “[t]he [Petitioners’] revised proposal . . . to
use a pre-fabricated steel truss bridge with spans of 50 feet, 60 feet and 90 feet and intermediate
piers located in the beach resource area of the intertidal zone of the arm of the Popponesset Bay
separating Punkhorn Point [from] Gooseberry Island . . . will cause increased [wetlands] resource
damage both during construction and as a result of the finished bridge itself. Mr. Daylor’s PFT,
{ 12. He testified that “one example of the increased, adverse impacts from the completed, new
bridge, [is that] both the revised Punkhorn Point abutment and the approach to it have been
enlarged, with resultantly greater negalive impacts on protected [wetlands] resource areas.” Id.
He testified that “Sheet two of the truss bridge is significantly heavier than the [original] timber
bridge proposal[,].. . with significantly longer spans the loads transferred to the end abutments
(and intermediate piers) are significantly larger than the 14 foot timber spans,” and, accordingly,
“the concrete abutment and concrete approach wing walls are significantly larger.” Id.

Mr. Daylor also testified that “the [project] site cannot accommodate an assembly and
launch [of the steel bridge] from Punkhorn Point as Mr. Bunker testifie[d],” and as a result, “the

only alternative is to assemble the [steel bridge] spans elsewhere, barge them to the site and then

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erect them at the site by a large barge-mounted crane.” Mr. Daylor’s PFT, { 14. He testified that
alternative construction would “rais[e] a significant risk to land containing shellfish resources
from the heavy barge grounding out in the shallow creek” because “[t]he three assembled bridge
spans [would] weigh 45,600 [pounds] (22.8 tons), 54,720 [pounds] (27.4 tons), and 82,080
[pounds] (41 tons) respectively,” and “would most likely require both a heavy crane barge and a
second barge carrying the assembled bridge sections.” Id. He testified that the Petitioners
presented “no evidence . . . that these barges could even fit in the creek” and no evidence “of the
impacts of such an approach on coastal resources,” Id.
b. Ms. Ball’s Testimony

Ms. Ball is a Project Manager and Senior Ecologist at the Horsley Witten Group, Inc., an
environmental consulting firm in Sandwich, Massachusetts, with more than 20 years of
significant professional experience as a wetlands consultant. Ms, Ball’s PFT, § 1. Her expertise
is in wetlands science, botany, ecology, rare species and wildlife habitat assessments, impact
asscssmicnt, wetlands permitting, and environmental policy evaluation. Id. She holds a Bachelor
of Science degree in Biology from Muhlenberg College in Allentown, Pennsylvania (1991) and a
Master of Science degree in Plant Biology from the University of Massachusetts, Amherst,
Massachusetts (1994). Id., § 2; Exhibit 1 to Ms. Ball’s PFT.

Ms. Ball also is a Professional Wetland Scientist (“PWS”), certified through the Society
of Wetland Scientists (“SWS”),°’ and a Certified Wetland Scientist in the State of New

Hampshire based on a certification process which has an eligibility component and requires both

°° The Society of Wetland Scientists is an international organization based in Madison, Wisconsin with over 3,000
members whose mission “is to promote understanding, conservation, protection, restoration, science-based
management, and sustainability of wetlands.” http://www.sws.org/About-S WS/overview. html.

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written and field examinations.© Ms. Ball’s PFT, 43. She is a niember of SWS and the
Association of Massachusetts Wetland Scicntists (“AMWS”),” two professional organizations
that promote wetland science and policy and the exchange of information related to wetlands.
Id., 4. She is also a member of the Board of Directors for the Massachusetts Association of
Conservation Commissions (“MACC”), a state-wide organization dedicated to providing
environmental education and training for members of local Conservation Commissions

and advocating for environmental protection. Id.

During the course of her career, Ms. Ball has performed hundreds of field delineations of
coastal and freshwater wetlands resource areas in accordance with federal, state, and local
delineation requirements. Id., | 5. She has also prepared numerous permit applications, written
project narratives, and reviewed projects on behalf of local Conservation Commissions requiring
federal, state, and/or local permits pursuant to laws, regulations, and policies governing wetlands
protection, including the MWPA and the Wetlands Regulations. Id. She frequently appears
before local Conservation Commissions and state and federal regulatory authorities as a project
representative or as a municipal consultant. Id, She has also served as an expert witness in the
areas of wetland delineation and has provided expert testimony in evidentiary Adjudicatory
Hearings involving Department issued wetlands permits and has served as an expert witness in _
Massachusetts Land Court. Id., | 6.

Ms. Ball testified that she is very familiar with the Petitioners’ original Project Plan and

revised Project Plan as a result of having served as the Intervenor Mashpee Wampanoag Tribe’s

See hitps;//www.nhes.ah.gov/elmi/products/licertocc/documents/wetlands.pdf.

5! AMWS was established in 1991 and is comprised of wetlands professionals from a number of states, including
Massachusetts, Connecticut, Rhode Island, New Hampshire, and Maine, who have diverse expertise in the wetlands
field. http:/Awww.amws.org/the_organization.html. “[Its] members are wetland scientists, soil evaluators,
engineers, conservation commission agents, regulatory officials[,] and other environmental professionals.” Id.

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wetlands expert since September 2014, when the Petitioners first presented their original Project
Plan to the MCC. Id., J 7-8. As part of her environmental consulting work for the Tribe, she
visited the project site on September 26, 2014 with Mr. Green, the Tribe’s Director of Natural
Resources, accessing the site from the Town Landing at the end of Punkhorn Point Road and
traversing the channel between the mainland and the Salt Marsh surrounding Gooseberry Island.
Id., § 8. During the site visit, she observed the expanse of Salt Marsh along the Mashpee
mainland and surrounding Gooseberry Island, and the approximate location of the proposed
bridge. Id. She also observed several members of the Intervenor Mashpee Wampanoag Tribe
gathering and tending to harvested shellfish (primarily oysters) and observed shellfish along the
sediment surface, growing among the Salt Marsh grasses, and in the waters. Id.

Ms. Ball testified that the Project site is located within an area that is mapped as shellfish
habitat by the Town of Mashpee and DMF and also protected under the Intervenor Mashpee
Wampanoag Tribe’s Private Shellfish Grant that it received from the Town in 1977 pursuant to
G.L. c. 130, §§ 57~-68A. Id., § 9, She testified that the Tribe’s Shellfish Grant is valid
through 2027 and occupics the entirety of the tidal creek between the Mashpee mainland at
Punkhorn Point Road and Gooseberry Island and nearly encircles the Island. Id.

Ms. Ball testified that under the Wetlands Regulations at 310 CMR 10.32(1), “Salt

marshes are significant to protection of marine fisheries, wildlife habitat, and where there are

® Mr. Green, the Intervenor Mashpee Wampanoag Tribe’s Assistant Director of Natural Resources, corroborated
Ms. Ball’s testimony. Pre-filed Direct Testimony of George “Chuckie” Green (“Mr. Green’s PFT”), 4 1-2. He
testified that the Tribe “has operated a shellfish grant around Gooseberry Island and in Popponesset Bay Proper
since 1977.” Id., 12. He testified that “[i]n 2008 the Tribe was awarded a Tribal Wildlife Grant (TWG) and
established the Popponesset Bay Restoration Project,” which “was designed to improve water quality by the creation
of a sustainable oyster aquiculture farm to reduce nitrogen in the estuary.” Id., {3. He testified that “[iJn 2012 the
Tribe received the [federal Environmental Protection Agency’s (“EPA”)] Environmental Merit Award for
demonstrating that [the Tribe] could assist in restoration through this process,” and that “{t]he Tribe sustains this
project through the sale of shellfish which could be affected with the [Applicant’s] introduction of a Bridge, house
and septic system” at the project site. Id., { 4.

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shellfish, to protection of land containing shellfish,” and as a result, “any destruction of the salt
marsh that would have an adverse effect on the productivity of the salt marsh, in turn, would also
directly impact the productivity of Land Containing Shellfish.” Id., 14. Under the Wetlands
Regulations at 310 CMR 10.34(4), “[e]xcept as provided in 310 CMR 10.34(5), any project on
land containing shellfish shall not adversely affect such land or marine fisheries by a change in
the productivity of such land caused by: . . . changes in water quality, including, but not limited
to, other than natural fluctuations in the levels of salinity, dissolved oxygen, nutrients,
temperature or turbidity, or the addition of pollutants.” Id.

Ms. Ball supported her testimony that the project area is Land Containing Shellfish by
relying on a March 27, 2014 letter written by DMF that assessed the detrimental impact that the
Applicant’s construction of a timber bridge would have on that area, Ms. Ball’s PFT, 4 15;
Exhibit 6 to Ms. Ball’s PFT. DMF stated the following in the letter, which I find to be also
pertinent to the Petitioners’ steel bridge alternative.

DMF confirmed that “[t]he Mashpee Wampanoag Tribe possesses a shellfish grant that is
located on the north, east, and south-facing sides of Gooseberry Island [that] . . . has been in
operation since the 1970’s.” Exhibit 6 to Ms. Ball’s PFT. DMF stated that the Tribe was
“currently grow[ing] out American oysters [at the project site], but [wanted] the opportunity to
grow out other shellfish species as well.” Id. DMF stated that “[q]uahogs were stocked on the

south side of [Gooseberry] [I]sland while soft shell clam seed was planted on the north side of

310 CMR 10.34(5) provides that:

Notwithstanding the provisions of 310 CMR 10.34(4), projects which temporarily have an adverse effect
on sheilfish productivity but which do not permanently destroy the habitat may be permitted if the land
containing shellfish can and will be returned substantially to its former productivity in less than one year
from the commencement of work, unless an extension of the Order of Conditions is granted, in which case
such restoration shall be completed within one year of such extension,

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the island.” Id. DMF stated that although “[t]he waters surrounding Gooseberry Island are
classified ‘Conditionally Approved,’” meaning that “shellfish may not be harvested from April 1
to October 31 of any year,” this classification “does not negate its value as shellfish habitat.” Id.
Additionally, DMF stated that while shellfish cannot be harvested during that period, the
shellfish “nevertheless serve as important brood stock for the area and provide forage for
numerous other species of finfish and invertebrates,” Id.

Ms. Ball testified that the Petitioners’ Revised Project Plan “proposes a steel span bridge
that avoids the placement of pilings within Salt Marsh with a narrower profile that allegedly
allows for greater light penetration,” but that “this revised design introduces the potential for
additional adverse effects on the coastal resource areas that must be considered.” Ms. Ball’s
PFT, 420. She testified that “[iJn [her] opinion, direct avoidance of salt marsh impacts alone
would not eliminate impacts to salt marsh... .” Id.,§ 21. She testified that “[t]he revised bridge
design is supported by two 9 x 14-inch pile bent supports with concrete bridge abutments at
either end [that] ... would continue to be placed within close proximity to the Salt Marsh — as
close as 3 to 4 fect on the eastemn-most pile bent structure.” Id. She testified that “[t]he
placement of these massive structures in close proximity to the Salt Marsh in a Velocity Zone
raises concerns regarding the potential for ice build up around the pilings during winter months,
which has the potential to scour the Salt Marsh, leading to adverse effects on the productivity of
the salt marsh.” Id. She testified that “[a]dditional considerations for potential adverse effects
on the Salt Marsh include the potential for accumulation of debris following storm events that

could be exacerbated by the proximity of the pile bent supports to the Salt Marsh.” Ms. Ball’s

PFT, § 21.

“ Mr. Green testified that “[s]oftsheil claims exist within the footprint of the bridge and [the Intervenor Mashpee
Wampanoag Tribe’s} members partake in Sustenance Harvest of ribbed mussels, softshell clams, and quahogs
annually.” Mr. Green’s PFT, 4 8.

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Ms. Ball took issue with Mr. Bunker’s and Mr. Forns’ testimony that the Petitioners’
steel bridge alternative will result in decreased impacts to wetlands resources compared to the
initial timber bridge design. Id., {{[ 22-26. Specifically, she refuted their testimony that the open
grating system in the deck of steel bridge will result in greater light penetration to the underlying
Salt Marsh surface than the originally proposed timber bridge. Id. She testified that Mr. Bunker
and Mr. Forns “overlooked . . . that the intended advantages for using open grid planking to
allow light penetration to vegetation beneath are overshadowed by the potential for vehicular
pollutants to fall through the open grating and onto the sensitive resources below.” Id., 4 23.

She testified that “[w]hile this type of design may be appropriate for a smaller dock or pier that
supports only foot traffic, this may not be an appropriate design in the context of this project.”
Id.

Ms. Ball also refuted Mr. Bunker’s and Mr. Forns testimony by relying on a recent
(2012) study on alternative decking materials for elevated structures over Salt Marshes that was
conducted in Georgia by the University of Georgia’s Skidaway Institute of Oceanography (“the
Skidaway Institute Study”). Ms. Ball’s PFT, 24; Exhibit 8 to Ms. Ball’s PFT. The Skidaway
Institute Study “revealed that open grating on elevated structures offer very little amelioration in
terms of shading to underlying vegetation.” Ms. Ball’s PFT, 424; Exhibit 8 to Ms. Ball’s PFT.

Specifically, the results of the Skidaway Institute Study demonstrated that “alternative decking

8 The University of Georgia’s Skidaway Institute of Oceanography “is a multidisciplinary research and training
institution located on Skidaway Island near Savannah{,] [Georgia], which “was founded in 1967 .. . to conduct
research in all fields of oceanography.” http://www.skio.uga.edu/about/uga-skidaway-institute-story. “The
Institute’s primary goals[,] [include] further[ing] [the] understanding of marine and environmental processes, {and}
conduct leading-edge research on coastal and marine systems ....” Id. “Institute scientists conduct basic research
across a broad range of subdisciplines, covering not only local economic and environmental issues, but also global
processes and phenomena ....” Id. The Institute’s research activities are funded by federal and state agencies,
including by the National Science Foundation (“NSF”), the National Oceanic and Atmospheric Administration
(“NOAA”), the U.S. Department of Energy (“DOE”), the U.S. Environmental Protection Agency (“EPA”), the
Office of Naval Research (“ONR”), and the Georgia Department of Natural Resources. Id,

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materials do not ameliorate the impacts of dock shading” and that the “the elevation of the sun is
only high enough to allow sunlight to penetrate through grated materials during spring, when
[sunlight] penetration is relatively limited, and during summer, when penetration is at its
greatest.” Ms. Ball’s PFT, { 24; Exhibit 8 to Ms. Ball’s PFT, at ¢. 4. The Skidaway Institute
Study noted that “even [during the summer], grated materials provide less than 10% additional
PAR [photosynthetically active radiation, i.e., light level intensity] under docks when compared
to a traditional planked walkway.” Id. The Skidaway Institute Study also pointed out that
“[b]ecause the elevation of the sun is related to latitude, [the study’s] results are applicable from
Skidaway Island [in Georgia] north along the US east coast.” Id. Ms. Ball testified that
“[rJesults in northern latitudes would [be] . . . lesser light penetration beneath this alternative
grate decking.” Ms. Ball’s PFT, { 24.

Ms. Ball testified that “[b]ased upon the results of [the Skidaway Institute Study], ... the
proposed [steel bridge alternative due], in part due to its massive size and its east-west
orientation, would continue to shade the underlying salt marsh vezetation, and lead to adverse
effects on the productivity of the Salt Marsh and the [growth].and composition of the salt marsh
vegetation.” Id., 25. Asa result, Ms. Ball opined that she “[did] not believe that the revised
bridge design would be protective of the Salt Marsh or the other adjacent coastal resource areas
or the interests they protect under the [MWPA].” Id., [ 26. She testified that “[wJhile the project
would avoid direct Salt Marsh impacts, . . . [the] design would not address the long term adverse
effects on the water quality and the potential for Salt Marsh degradation that continues to
prohibit the ability of this project to meet the performance standards under the ... Wetlands . .

Regulations.” Id.

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Ms. Ball also took issue with the Petitioners’ mitigation plan to provide “salt marsh
restoration/re-vegetation” to mitigate for the steel bridge’s impacts to Salt Marsh. Id., 429. She
testified that “rather than serving as mitigation, this mitigation plan will likely have unintended
consequences and impacts on. . . Coastal Beach/Tidal Flats and Land Containing Shellfish and
areas designated as part of the Tribe’s Aquaculture Grant,” and, as a result, “[aJny claims that the
[revised] proposed project would improve existing conditions, would therefore be flawed.” Id.

CONCLUSION

Based on the testimonial and documentary evidence introduced at the Adjudicatory
Hearing as discussed above, I recommend that the Departments Commissioner issue a Final
Decision: (1) affirming the Department’s SOC denying the Petitioners’ original proposed Project
because the Petitioners waived any objections to the SOC by submitting a Revised Project Plan
~ to the Department in this appeal; and (2) denying review and approval of the Petitioners’ Revised
Project Plan pursuant to the Department’s Plan Change Policy because the Petitioners’ proposed
steel bridge alternative is substantially different from their originally proposed timber bridge and
increases wetlands impacts to Salt Marsh and Land Containing Shellfish. Asa result, the
Petitioners’ Revised Project Plan cannot be reviewed and approved in this appeal, but must be

submitted to the MCC for review pursuant to a new NOI.

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Salvatore M. Giorlandino
Chief Presiding Officer

NOTICE-RECOMMENDED FINAL DECISION

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This decision is a Recommended Final Decision of the Chief Presiding Officer. It has
been transmitted to the Commissioner for his Final Decision in this matter. This decision is
therefore not a Final Decision subject to reconsideration under 310 CMR 1.01(14)(d) and/or
14(e), and may not be appealed to Superior Court pursuant to G.L. c. 30A. The Commissioner’s
Final Decision is subject to rights of reconsideration and court appeal and will contain a notice to
that effect. Because this matter has now been transmitted to the Commissioner, no party and no
other person directly or indirectly involved in this administrative appeal shall neither (1) file a
motion to renew or reargue this Recommended Final Decision or any part of it, nor
(2) communicate with the Commissioner’s office regarding this decision unless the

Commissioner, in his sole discretion, directs otherwise.

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